        Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 1 of 54




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


LIQUIDIA TECHNOLOGIES, INC.,

                  Plaintiff,
           v.                                        Case No. 24-cv-02428
UNITED STATES FOOD AND DRUG                          Honorable John D. Bates
ADMINISTRATION; ROBERT M. CALIFF,
M.D., in his official capacity as Commissioner       HEARING REQUESTED
of the Food and Drug Administration;
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity
as Secretary of Health and Human Services,

                  Defendants.


                       MEMORANDUM OF LAW IN SUPPORT OF
                     PLAINTIFF LIQUIDIA TECHNOLOGIES, INC.’S
                     MOTION FOR A PRELIMINARY INJUNCTION




                                            Sonia Nath (DC Bar No. 977095)
                                            David E. Mills (DC Bar No. 401979)
                                            Robby Saldaña (DC Bar No. 1034981)
                                            Matt K. Nguyen (DC Bar No. 1736777)
                                            COOLEY LLP
                                            1299 Pennsylvania Ave., NW, Suite 700
                                            Washington, DC 20004-2400
                                            Telephone: (202) 842-7800

                                            Kathleen R. Hartnett (DC Bar No. 483250)
                                            COOLEY LLP
                                            3 Embarcadero Center, 20th Floor
                                            San Francisco, CA 94111-4004
                                            Telephone: (415) 693-2000
           Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 2 of 54




                                                  TABLE OF CONTENTS

TABLE OF CONTENTS................................................................................................................. i
TABLE OF AUTHORITIES ......................................................................................................... iii
INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 6
I.        STATUTORY AND REGULATORY BACKGROUND .................................................. 6
          A.         The New Drug Approval Process. .......................................................................... 6
          B.         Marketing Exclusivities Under the FDCA. ............................................................. 8
          C.         FDA’s Regulatory Framework for NCI Exclusivity. .............................................. 9
II.       FACTUAL BACKGROUND ........................................................................................... 10
          A.         Treprostinil Treatment for PH Patients. ................................................................ 10
          B.         UTC’s Nearly 20-Year Market Exclusivity for Treprostinil Products. ................ 11
          C.         Liquidia Sought FDA Approval of Yutrepia Over Four Years Ago. ................... 13
          D.         UTC’s Patent Suit Against Liquidia Blocks Full Approval of Yutrepia. ............. 14
          E.         UTC Submits the Tyvaso DPI NDA and Receives FDA Approval. .................... 15
          F.         UTC Sues to Block FDA’s Approval of Yutrepia for the PH-ILD Indication and
                     Liquidia’s Anticipated Launch of Yutrepia for that Indication. ........................... 17
          G.         FDA Issues the Exclusivity Decision and Refuses Full Approval of Yutrepia. ... 18
          H.         FDA’s Exclusivity Decision Will Cause Irreparable Harm to Liquidia. .............. 19
LEGAL STANDARD................................................................................................................... 20
ARGUMENT ................................................................................................................................ 20
I.        LIQUIDIA HAS A STRONG LIKELIHOOD OF SUCCESS ON THE MERITS
          OF ITS APA CLAIMS CHALLENGING FDA’S UNLAWFUL EXCLUSIVITY
          DECISION. ....................................................................................................................... 20
          A.         FDA Exceeded Its Statutory Authority and Acted Contrary to Law. ................... 21
                     1.         Tyvaso DPI Was Ineligible for NCI Exclusivity Because BREEZE
                                Was Not a New Clinical Investigation...................................................... 23
                                a.         BREEZE Is a Bioavailability Study that Cannot Support NCI
                                           Exclusivity as a Matter of Law. .................................................... 23
                                b.         BREEZE Was Not a New Clinical Investigation. ........................ 25
                     2.         Tyvaso DPI Was Ineligible for NCI Exclusivity Because BREEZE
                                Was Not Essential to the Approval of Tyvaso DPI. ................................. 26
                     3.         FDA’s Exclusivity Decision Exceeds the Limited Scope of NCI
                                Exclusivity that the FDCA Allows for the “Conditions of
                                Approval.” ................................................................................................. 27




                                                                      i
           Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 3 of 54




                                a.         Under the FDCA, the “Conditions of Approval” Must Be Linked
                                           to the Innovative Change Presented by the New Clinical
                                           Investigation that Makes a Drug Eligible for Exclusivity. ........... 27
                                b.         FDA’s Exclusivity Decision Flouts the FDCA’s Boundaries....... 29
          B.         FDA’s Exclusivity Decision Is Arbitrary and Capricious. ................................... 31
                     1.         FDA’s Novel Determination that BREEZE Is a New Clinical
                                Investigation Contradicted FDA’s Prior Conclusions. ............................. 32
                     2.         FDA’s Determination in the Exclusivity Decision that BREEZE
                                Was a New Clinical Investigation Was Implausible Under FDA’s
                                Longstanding Policy. ................................................................................ 33
                     3.         FDA’s Determination that BREEZE Was Essential to the Approval
                                of Tyvaso DPI Was Irrational and Plainly Contrary to the
                                Evidence. ................................................................................................... 34
                     4.         FDA Failed to Articulate the “Conditions of Approval” for Tyvaso
                                DPI or How Those Conditions Could Block Full Approval of
                                Yutrepia..................................................................................................... 36
                     5.         FDA Arbitrarily Refused to Limit the “Conditions of Approval”
                                for Tyvaso DPI to the Indications and Uses Studied In BREEZE. ........... 38
II.       LIQUIDIA WILL SUFFER IRREPARABLE HARM ABSENT AN
          INJUNCTION. .................................................................................................................. 39
III.      THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST STRONGLY
          FAVOR LIQUIDIA. ......................................................................................................... 40
IV.       LIQUIDIA REQUESTS INJUNCTIVE RELIEF THAT IMMEDIATELY
          REDRESSES THE IRREPARABLE HARM FROM FDA’S UNLAWFUL
          EXCLUSIVITY DECISION. ........................................................................................... 43
CONCLUSION ............................................................................................................................. 45




                                                                      ii
           Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 4 of 54




                                              TABLE OF AUTHORITIES

Cases

Aamer v. Obama,
   742 F.3d 1023 (D.C. Cir. 2014) ...............................................................................................20

Accrediting Council for Indep. Colls. & Schs. v. Devos,
   303 F. Supp. 3d 77 (D.D.C. 2018) ...........................................................................................22

Am. Fin. Servs. Ass’n v. FTC,
   767 F.2d 957 (D.C. Cir. 1985) .................................................................................................22

ASARCO, Inc. v. EPA,
   578 F.2d 319 (D.C. Cir. 1978) .................................................................................................24

AstraZeneca Pharms. LP v. FDA,
    850 F.Supp.2d 230 (D.D.C. 2012) .............................................................................................8

*AstraZeneca Pharms. LP v. FDA,
   872 F. Supp. 2d 60 (D.D.C. 2012), aff’d, 713 F.3d 1134 (D.C. Cir. 2013) .................10, 28, 29

Atl. City Elec. Co. v. FERC,
    295 F.3d 1 (D.C. Cir. 2002) .....................................................................................................22

Banner Health v. Price,
   867 F.3d 1323 (D.C. Cir. 2017) ...............................................................................................44

Bayer Healthcare, LLC v. FDA,
   942 F. Supp. 2d 17 (D.D.C. 2013) .....................................................................................20, 41

*Braeburn Inc. v. FDA,
   389 F. Supp. 3d 1 (D.D.C. 2019) .............................................................................................28

Chaplaincy of Full Gospel Churches v. England,
   454 F.3d 290 (D.C. Cir. 2006) .................................................................................................40

Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc.,
   467 U.S. 837 (1984) .............................................................................................................3, 21

Cmty. for Creative Non-Violence v. Reid,
  490 U.S. 730 (1989) .................................................................................................................23

Dillmon v. NTSB,
    588 F.3d 1085 (D.C. Cir. 2009) ...............................................................................................36

*Endo Par Innovation Co. v. Becerra,
   No. 24-999, 2024 WL 2988904 (D.D.C. 2024) .......................................................................40



                                                                   iii
           Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 5 of 54




Hikvision USA, Inc. v. FCC,
   97 F.4th 938 (D.C. Cir. 2024) ..................................................................................................22

Kisor v. Wilkie,
   585 U.S. 558 (2019) .................................................................................................................22

League of Women Voters of U.S. v. Newby,
   838 F.3d 1 (D.C. Cir. 2016) .....................................................................................................41

*Loper Bright Enters. v. Raimondo,
   144 S. Ct. 2244 (2024) ...................................................................................................3, 21, 28

Merck & Co. v. FDA,
   148 F. Supp. 2d 27 (D.D.C. 2001) .....................................................................................43, 44

Monument Realty LLC v. Wash. Metro. Area Transit Auth.,
  540 F. Supp. 2d 66 (D.D.C. 2008) ...........................................................................................41

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) ...................................................................................................................31

Nat’l Env’t. Dev. Ass’ns Clean Air Project v. EPA,
   752 F.3d 999 (D.C. Cir. 2014) .................................................................................................22

Nat’l Family Planning & Reprod. Health Ass’n, Inc. v. Sullivan,
   979 F.2d 227 (D.C. Cir. 1992) .................................................................................................24

Nuclear Energy Inst., Inc. v. EPA,
   373 F.3d 1251 (D.C. Cir. 2004) ...............................................................................................31

Physicians for Soc. Resp. v. Wheeler,
   956 F.3d 634 (D.C. Cir. 2020) .................................................................................................36

R.I.L-R v. Johnson,
    80 F. Supp. 3d 164 (D.D.C. 2015) ...........................................................................................41

Shawnee Tribe v. Mnuchin,
   984 F.3d 94 (D.C. Cir. 2021) ...............................................................................................5, 41

Smoking Everywhere, Inc. v. FDA,
   680 F. Supp. 2d 62 (D.D.C. 2010) ...........................................................................................40

*Teva Pharms. USA, Inc. v. FDA,
   No. CIV.A. 99-67, 1999 WL 1042743 (D.D.C. Aug. 19, 1999) .............................................43

*Torpharm, Inc. v. Shalala,
   No. Civ. A. 97-1925, 1997 WL 33472411 (D.D.C. Sept. 15, 1997) ...........................40, 41, 44




                                                                    iv
            Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 6 of 54




United Therapeutics Corp. v. Liquidia Techs., Inc.,
   No. 20-cv-755 (D. Del.) ...........................................................................................................14

United Therapeutics Corp. v. FDA,
   No. 24-cv-484-JDB (D.D.C.) ............................................................................................18, 43

United Therapeutics Corp. v. Liquidia Techs., Inc.,
   No. CV 23-975, 2024 WL 2805082 (D. Del. May 31, 2024) ........................................5, 18, 42

*Veloxis Pharms., Inc. v. FDA,
   109 F. Supp. 3d 104 (D.D.C. 2015) ................................................................................. passim

Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc.,
  559 F.2d 841 (D.C. Cir. 1977) .................................................................................................42

Winter v. Nat. Res. Def. Council, Inc.,
   555 U.S. 7 (2008) ...........................................................................................................3, 20, 41

Zhang v. U.S. Citizenship & Immigr. Servs.,
   344 F. Supp. 3d 32 (D.D.C. 2018) ...........................................................................................24

Statutes

5 U.S.C. § 706(2) .......................................................................................................................3, 21

21 U.S.C.
   § 355...........................................................................................................................................8
   § 355(a) ......................................................................................................................................6
   § 355(b)(1)(A) ............................................................................................................................7
   § 355(b)(2) .................................................................................................................................7
   § 355(c)(3)(C) ..........................................................................................................................14
   § 355(c)(3)(E)(iii)* .......................................................................................................... passim
   § 355(d) ......................................................................................................................................6
   § 355(j)(8)(A)(i) .........................................................................................................................8


Federal Food Drug & Cosmetic Act
   § 505(b) ............................................................................................................................ passim
   § 505(c)(3)(E)(iii) ....................................................................................................................33
   § 505(j) .......................................................................................................................................6
   § 527(c) ....................................................................................................................................12

Public Law 98-417 (1984) ...............................................................................................................6

Legislative Materials

House Report No. 98-857, pt. 1 (1984), reprinted in 1984 U.S.C.C.A.N. 2647 ..............................6



                                                                         v
            Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 7 of 54




Regulations

21 C.F.R.
   § 201.57(c)(2) ............................................................................................................................7
   § 314.3........................................................................................................................................8
   § 314.54(a)(1)(iii) ......................................................................................................................7
   § 314.105(a) ...............................................................................................................................7
   § 314.107(b)(3) ....................................................................................................................7, 14
   § 314.108(a)* ................................................................................................................... passim
   § 314.125....................................................................................................................................7
   § 314.126....................................................................................................................................6
   § 316.........................................................................................................................................11

Rulemakings

54 Fed. Reg. 28872 (July 10, 1989) .........................................................................................28, 33

FDA Materials

FDA, Center for Drug Evaluation and Research (“CDER”), NDA No. 22-387
  (Tyvaso Inhalation Solution) Clinical Review (Apr. 3, 2009),
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2009/022387s000MedR.
  pdf. ...........................................................................................................................................13

FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Approval Letter
  (July 30, 2009),
  https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2009/022387s000lt
  r.pdf. .........................................................................................................................................12

FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Multi-Discipline
  Review (Feb. 26, 2021),
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2021/022387Orig1s017.
  pdf. ...........................................................................................................................................13

FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Supplemental
  Approval Letter (Mar. 31, 2021),
  https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2021/022387Orig1
  s017ltr.pdf. ...............................................................................................................................13

FDA, CDER, NDA No. 214324 (Tyvaso DPI) Clinical Review (Sept. 23, 2021),
  https://www.accessdata.fda.gov/drugsatfda_docs/nda/2022/214324Orig1s000
  MedR.pdf. ................................................................................................................................15

Orphan Drug Designation: Disease Considerations, FDA (last updated Mar. 9,
   2018), https://www.fda.gov/industry/designating-orphan-product-drugs-and-
   biological-products/orphan-drug-designation-disease-considerations. .............................10, 39




                                                                        vi
            Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 8 of 54




Search Orphan Drug Designations and Approvals, FDA (“Orphan Drug
   Database”),
   https://www.accessdata.fda.gov/scripts/opdlisting/oopd/detailedIndex.cfm?cfg
   ridkey=105197 (last accessed Aug. 20, 2024). ........................................................................12

Tyvaso Label (revised July 2009),
   https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/022387LBL.pdf ................34, 36

Clinical Trials

Investigation of the Safety and Pharmacology of Dry Powder Inhalation of
    Treprostinil (INSPIRE), ClinicalTrials (last updated July 30, 2024),
    https://clinicaltrials.gov/study/NCT03399604 .........................................................................14

Clinical Investigation Into Inhaled Treprostinil Sodium in Patients with Severe
    Pulmonary Arterial Hypertension (PAH) (TRIUMPH), ClinicalTrials (last
    updated Jan. 2, 2024), https://www.clinicaltrials.gov/study/NCT00147199. ..........................13

Open-label, Clinical Study to Evaluate the Safety and Tolerability of TreT in
   Subjects With PAH Currently Using Tyvaso (BREEZE), ClinicalTrials (last
   updated Jan. 24, 2024), https://clinicaltrials.gov/study/NCT03950739. .................................16

Publications

Aaron Waxman et al., Inhaled Treprostinil in Pulmonary Hypertension Due to
   Interstitial Lung Disease, NEW ENGLAND J. OF MED., Vol 384(4) (Jan. 13,
   2021), https://www.nejm.org/doi/full/10.1056/NEJMoa2008470. ..........................................15

J.R. Sysol & Roberto F. Machado, Classification and Pathophysiology of
    Pulmonary Hypertension, CONTINUING CARDIOLOGY EDUCATION (July 27,
    2018), https://onlinelibrary.wiley.com/doi/epdf/10.1002/cce2.71.....................................10, 11

Leslie A. Spikes et al., BREEZE: Open‐ label clinical study to evaluate the safety
   and tolerability of treprostinil inhalation powder as Tyvaso DPI™ in patients
   with pulmonary arterial hypertension, PULMONARY CIRCULATION (Apr. 7,
   2022), https://pubmed.ncbi.nlm.nih.gov/35514770/ ........................................15, 16, 24, 30, 35

Nicholas S. Hill et al., INSPIRE: Safety and Tolerability of Inhaled Yutrepia
   (treprostinil) in Pulmonary Arterial Hypertension (PAH), PUBMED (July 1,
   2022), https://onlinelibrary.wiley.com/doi/epdf/10.1002/pul2.12119. ....................................14

Robin M. Fowler, Kevin R. Gain & Eli Gabbay, Exercise Intolerance in
   Pulmonary Arterial Hypertension, Pulmonary Medicine (June 10, 2012),
   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3377355/pdf/PM2012-
   359204.pdf. ..............................................................................................................................11




                                                                     vii
          Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 9 of 54




Vallerie V. McLaughlin et al., Addition of Inhaled Treprostinil to Oral Therapy
   for Pulmonary Arterial Hypertension, J. Am. Coll. Cardiol. (May 4, 2010),
   https://pubmed.ncbi.nlm.nih.gov/20430262/. ..........................................................................13

Press Releases

Press Release, Liquidia, FDA Grants Tentative Approval for Liquidia's
   YUTREPIA™ (Treprostinil) Inhalation Powder (Nov. 8, 2021),
   https://liquidia.com/node/9416/pdf. .........................................................................................13

Press Release, Liquidia, Liquidia Releases Final LIQ861 Results from Pivotal
   Phase 3 INSPIRE Study in Patients with Pulmonary Arterial Hypertension
   (Apr. 30, 2020), https://investors.liquidia.com/node/7836/pdf ...............................................14

Press Release, Liquidia, Liquidia Submits Amendment to Add PH-ILD Indication
   to Tentatively Approved NDA for YUTREPIA™ (trepostinil) Inhalation
   Powder (July 27, 2023), https://www.liquidia.com/node/10556/pdf. .....................................17

Press Release, Liquidia, FDA Accepts Submission to Add PH-ILD to
   YUTREPIA™ Label (Sept. 25, 2023),
   https://www.liquidia.com/node/10646/pdf ..............................................................................17

Other Sources

Classes and Stages of Heart Failure, AMERICAN HEART ASSOCIATION (last
   reviewed Jun. 7, 2023), https://www.heart.org/en/health-topics/heart-
   failure/what-is-heart-failure/classes-of-heart-failure. ..............................................................10

UTC Q1 2023 Earnings Call Transcript, available at:
  https://www.roic.ai/quote/UTHR/transcripts/2023/1 ...............................................................42




                                                              viii
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 10 of 54




                                        INTRODUCTION

       Plaintiff Liquidia Technologies, Inc. (“Liquidia”) seeks immediate injunctive relief from

an August 16, 2024 decision (the “Exclusivity Decision” or “Decision”) issued by Defendant U.S.

Food and Drug Administration1 (“FDA”) in which the FDA has refused (for a second time in the

past three years) to grant full approval of Liquidia’s first drug product, Yutrepia, despite findings

by the agency on two occasions that Yutrepia is a safe and effective drug that warrants approval.

FDA’s Exclusivity Decision is both contrary to law and arbitrary and capricious, and it is causing

Liquidia irreparable harm. Thus, it should be enjoined.

       In a tentative approval (“TA”) letter issued to Liquidia on August 16, 2024, FDA confirmed

(again) that Yutrepia, a dry powder treprostinil treatment for patients with two incurable

conditions, pulmonary arterial hypertension (“PAH”) and pulmonary hypertension associated with

interstitial lung disease (“PH ILD”), meets all Federal Food Drug & Cosmetic Act (“FDCA”) and

FDA requirements, including safety and efficacy as a treatment for its intended uses. FDA,

however, determined that a monopoly held by United Therapeutics Corporation (“UTC”) over

treprostinil treatments should continue for yet another nine months because of exclusivity based

on a purportedly “new clinical investigation” (“NCI exclusivity”) for Tyvaso DPI. In awarding

NCI exclusivity to UTC for Tyvaso DPI, the latest addition to UTC’s franchise of treprostinil

products, FDA manufactured yet another extension of UTC’s monopoly and blocked the launch

of Yutrepia for any patients. FDA’s decision to award this exclusivity to another dry powder

treprostinil drug submitted for FDA approval after Liquidia filed its New Drug Application

(“NDA”) for Yutrepia violates the Hatch-Waxman Amendments that authorize FDA to grant NCI



1
 Liquidia has also sued Robert M. Califf, M.D., in his official capacity as Commissioner of FDA,
U.S. Department of Health and Human Services (“HHS”), and Xavier Becerra, in his official
capacity as Secretary of HHS. References to “FDA” include these Defendants.

                                                 1
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 11 of 54




exclusivity under the FDCA for the purpose of rewarding innovation.                       21 U.S.C.

§ 355(c)(3)(E)(iii). Here, UTC is being rewarded for copying Liquidia’s innovation and then

slowing approval for Liquidia’s drug through meritless patent litigation, not any actual innovation

by UTC. Meanwhile the true innovator, Liquidia, is penalized.

       The Exclusivity Decision is the latest FDA action refusing to give full approval to Yutrepia

because of UTC. In a TA letter that FDA issued in November 2021, FDA indicated that Yutrepia

was blocked from the market solely because of stays and injunctions issued in connection with

patent litigation initiated by UTC against Liquidia in which Liquidia was ultimately found not to

have infringed any valid claims of the patents asserted by UTC. The last of those stays and

injunctions was lifted in March 2024. FDA nevertheless delayed making any decision on

Liquidia’s NDA for Yutrepia until August 2024 when FDA issued the Exclusivity Decision.

       The Exclusivity Decision not only exceeds FDA’s authority under the FDCA, but also it

contradicts a prior FDA decision on this very issue. In May 2022, at the same time FDA approved

Tyvaso DPI, FDA concluded that no “new clinical investigations” supported that approval, and

thus Tyvaso DPI was ineligible for NCI exclusivity. Ex. E at 1.2 Yet, on August 16, 2024, FDA

reversed course and awarded the precise exclusivity it found inapplicable at the time of approval

in 2022. Ex. A at 1.

       FDA’s Exclusivity Decision allows UTC to maintain a decades-long monopoly over

treprostinil in violation of clear congressional intent to allow NCI exclusivity only in limited

circumstances not present here. In extending this exclusivity to Tyvaso DPI, FDA violated

statutory limitations and its own regulations by improperly crediting a study that cannot, as a matter




2
  All Exhibits (“Ex.”) are Exhibits to the Declaration of Sonia W. Nath, filed concurrently with
this motion.

                                                  2
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 12 of 54




of law, support NCI exclusivity for Tyvaso DPI. It further prevents Liquidia—who was the first

to conduct a clinical study with a dry powder treprostinil formulation, the first to submit such a

formulation for FDA approval, and the sponsor of the first dry powder treprostinil formulation

found by FDA to be a safe and effective drug warranting approval—from reaching patients. FDA’s

Exclusivity Decision is an affront to patients in need of safe and effective treatments, the drug

development process itself, and the intent of Congress, and it cannot lawfully stand. Thus, Liquidia

seeks a preliminary injunction on its claims under the Administrative Procedure Act (“APA”),

5 U.S.C. § 706(2), to prevent substantial and irreparable harm from FDA’s unlawful Exclusivity

Decision. Each preliminary injunction factor weighs decisively in favor of granting injunctive

relief. See Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

       First, Liquidia has a strong likelihood of success on the merits of its claims that FDA has

violated the APA. “Congress ... enacted the APA ‘as a check upon administrators whose zeal

might otherwise have carried them to excesses not contemplated in legislation creating their

offices.’” Loper Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2261 (2024) (citation omitted). That

check is critical here because FDA exceeded its specific and limited authority under the FDCA in

granting the contested award of NCI exclusivity. FDA has routinely defended its interpretations

of the FDCA by relying on the judicially created deference doctrine established in Chevron, U.S.A.,

Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984), but now “Chevron is overruled,” Loper

Bright, 144 S. Ct. at 2273, and this Court “must exercise [its] independent judgment in deciding

whether [the] agency has acted within its statutory authority, as the APA requires.” Id. In addition

to FDA’s statutory excesses, FDA contravened its own regulations governing NCI exclusivity and

ran afoul of the APA’s fundamental requirement mandating reasoned agency decision-making.




                                                 3
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 13 of 54




       Specifically, in issuing the Exclusivity Decision, FDA exceeded its statutory authority

under the FDCA and acted contrary to the FDCA and FDA regulations as follows:

          FDA unlawfully extended NCI exclusivity to Tyvaso DPI in violation of the FDCA
           and FDA regulations limiting eligibility for such exclusivity to drugs supported by new
           clinical investigations other than bioavailability studies. The single study on which
           FDA relied for the Exclusivity Decision, the BREEZE Study, was a bioavailability
           study—as FDA recognized over two years before the Exclusivity Decision—that was
           categorically ineligible for NCI exclusivity. FDA’s determination that BREEZE was
           not “solely” a bioavailability study is contrary to the FDCA and FDA regulations,
           which do not permit FDA to rely on such a study. Moreover, BREEZE could not
           qualify as a new clinical investigation because its results duplicated and confirmed
           those of prior studies.

          FDA unlawfully extended NCI exclusivity to Tyvaso DPI in violation of the FDCA
           and FDA regulations limiting eligibility for NCI exclusivity to new clinical
           investigations “essential” to the approval of a prior drug application. BREEZE was not
           essential to FDA’s approval of Tyvaso DPI. FDA admits it relied on safety and efficacy
           data from previously submitted treprostinil NDAs to approve Tyvaso DPI.

          FDA exceeded its authority under the FDCA and acted contrary to FDA regulations by
           awarding Tyvaso DPI broad NCI exclusivity that does not correspond to the
           “conditions of approval” supported by the BREEZE Study.

       FDA also violated the APA’s fundamental requirement that an agency must engage in

reasoned decisionmaking. FDA’s determination that BREEZE was a new clinical investigation

contradicts a 2022 finding by the agency when it approved Tyvaso DPI where it reached the

opposite conclusion. FDA failed to articulate any satisfactory reason for how the “conditions of

approval” supported by the BREEZE study were “innovative.” And FDA departed from its own

prior practice of limiting NCI exclusivity to the patient populations actually studied by a new

clinical investigation when FDA refused to address how BREEZE could support an NCI

exclusivity that would block all of Yutrepia’s indications even though BREEZE did not study the

use of treprostinil inhalation powder in PH-ILD patients, one of Yutrepia’s (blocked) indications.

       Second, injunctive relief is necessary to prevent the immediate and clear threat of

irreparable harm to Liquidia from FDA’s Exclusivity Decision. Absent injunctive relief, the



                                                4
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 14 of 54




Exclusivity Decision prohibits Liquidia from lawfully marketing Yutrepia for at least nine

additional months, i.e., until May 2025. This represents nine months of market participation

Liquidia cannot recover, and nine months during which Liquidia is unable to generate any revenue

from its first and currently only approvable product. This additional prohibition is on top of over

two and a half years of delay resulting from UTC’s meritless patent litigation and FDA’s delays

in taking action on Liquidia’s application after the legal impediments to approval were removed.

As a result, Liquidia faces monetary losses it can never recover from FDA due to sovereign

immunity. A preliminary injunction is necessary to prevent these irremediable harms to Liquidia.

       Third, the equities and the public interest decisively weigh in Liquidia’s favor. Because

Liquidia is likely to succeed on its claims that the Exclusivity Decision violates the APA, “a

preliminary injunction would serve the public interest because there is generally no public interest

in the perpetuation of unlawful agency action.” Shawnee Tribe v. Mnuchin, 984 F.3d 94, 102 (D.C.

Cir. 2021) (internal brackets and quotation marks omitted). Injunctive relief would not harm FDA

because the government is not harmed by being required to comply with the law. Nor would UTC

suffer any creditable harm, let alone harm that could outweigh the substantial irreparable harm

Liquidia faces, as UTC is “a large company with more than $2 billion in annual revenue and two

decades on the market.” United Therapeutics Corp. v. Liquidia Techs., Inc., No. CV 23-975, 2024

WL 2805082, at *13 (D. Del. May 31, 2024). And, as of 2023, UTC stated that it expected its

double-digit growth rate would remain solid even with the possibility of new FDA approvals for

Liquidia. The prospect of competition to UTC’s products cannot foreclose injunctive relief for

Liquidia, particularly when UTC could not have expected any NCI exclusivity for Tyvaso DPI.

       Fourth, in light of Liquidia’s strong showing on the preliminary injunction factors, the

remaining question is the scope of the preliminary injunction. At a minimum, the Court should




                                                 5
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 15 of 54




immediately enjoin the effectiveness of the Exclusivity Decision, which would eliminate that

unlawful obstacle to Yutrepia. Liquidia also requests that the Court require FDA to give full

approval to Yutrepia immediately or, alternatively, full approval for the PH-ILD indication.

                                       BACKGROUND

I.     STATUTORY AND REGULATORY BACKGROUND

       A.      The New Drug Approval Process.

       The FDCA requires FDA to approve new drugs before they may be distributed in interstate

commerce. 21 U.S.C. § 355(a). In 1984, Congress enacted the Drug Price Competition and Patent

Term Restoration Act of 1984 (the “Hatch-Waxman Amendments”), which, among other changes,

amended the FDCA to provide new abbreviated pathways for FDA drug approval under sections

505(b)(2) and 505(j). Public Law 98-417 (1984). The Hatch-Waxman Amendments reflected

Congress’s efforts to balance the need to “make available more low cost generic drugs by

establishing a generic drug approval procedure” with new incentives for drug development in the

form of exclusivity and patent term extensions. House Report No. 98-857, part 1, at 14-15 (1984),

reprinted in 1984 U.S.C.C.A.N. 2647 at 2647-2648.

       The FDCA contemplates three types of drug applications for small molecule (i.e., non-

biological) drugs: (1) a full NDA under section 505(b)(1) of the FDCA, (2) an abbreviated NDA

under section 505(j) of the FDCA, and (3) an intermediate form of NDA under section 505(b)(2)

of the FDCA. An NDA must include adequate studies to show that the drug will be safe, and

“substantial evidence” that the drug will be effective, under the conditions of use prescribed,

recommended, or suggested in its labeling. “Substantial evidence” is a term of art meaning one or

more (usually at least two) adequate and well-controlled clinical trials conducted by qualified

experts. 21 U.S.C. § 355(d); see 21 C.F.R. § 314.126.




                                                6
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 16 of 54




       Under section 505(b)(1), an NDA applicant must, among other requirements, submit full

reports of investigations made to show whether the drug is safe for use and effective. 21 U.S.C.

§ 355(b)(1)(A). By contrast, under section 505(b)(2), an applicant may submit an NDA for a new

drug by relying on all or part of the prior safety and/or effectiveness data for a listed drug that FDA

has already approved. Id. § 355(b)(2); 21 C.F.R. § 314.54(a)(1)(iii).

       FDA has three ways to resolve an NDA: (1) denial (or delay), (2) tentative approval

(“TA”), or (3) approval. First, FDA may deny the NDA. See 21 C.F.R. § 314.125. Grounds for

denial include, among other reasons, lack of adequate studies on safety and efficacy or test results

showing that the drug is unsafe for its intended uses. Id. § 314.125(b). Second, “FDA will issue

a [TA] letter if an NDA otherwise meets the requirements for approval under the [FDCA], but

cannot be approved” for certain reasons. 21 C.F.R. § 314.105(a) (emphasis added). Among the

reasons that will prevent full approval are a patent stay pursuant to 21 C.F.R. § 314.107(b)(3), or

“because there is a period of exclusivity for the listed drug under [21 C.F.R.] § 314.108.” 21

C.F.R. § 314.105(a). By definition, under FDA’s regulations, a drug that receives a TA satisfies

all requirements for approval under the FDCA as of the date of the TA—including safety and

efficacy requirements. Id. A drug that receives TA “is not an approved drug and will not be

approved until FDA issues an approval after any necessary additional review of the NDA.” Id.

Third, “FDA will approve an NDA and send the applicant an approval letter if none of the reasons

in § 314.125 for refusing to approve the NDA applies.” Id. Final approval allows the applicant to

market the drug immediately.

       An applicant also must propose labeling for its drug product as part of the approval process.

Among the labeling requirements is a requirement that the applicant must identify the

“[i]ndications and usage” of the drug. 21 C.F.R. § 201.57(c)(2). An indication reflects that “the




                                                  7
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 17 of 54




drug is indicated for the treatment, prevention, mitigation, cure, or diagnosis of a recognized

disease or condition, or of a manifestation of a recognized disease or conditions, or for the relief

of symptoms associated with a recognized disease or condition.” Id.

       B.      Marketing Exclusivities Under the FDCA.

       The Hatch-Waxman Amendments amended the FDCA to provide statutory periods of

exclusivity for drugs approved by FDA. These exclusivities apply only if specific statutory

requirements are met and have varying lengths of exclusivity depending on the degree of

innovation. See 21 U.S.C. § 355. Among the FDCA’s exclusivities are (1) orphan drug exclusivity

(“ODE”), a seven-year period, (2) new chemical entity (“NCE”) exclusivity, a five-year period,

and (3) NCI exclusivity, a three-year period. “Through the Hatch-Waxman Amendments, even

while creating new incentives for the development of generic drugs, Congress sought to encourage

innovation. To this end, pioneer drug companies are entitled to certain periods of marketing

exclusivity.” AstraZeneca Pharms. LP v. FDA, 850 F.Supp.2d 230, 234 (D.D.C. 2012), aff’d, 713

F.3d 1134 (D.C. Cir. 2013).

       NCI exclusivity is the focus here, and it creates a temporal relationship between an

approved drug and later drugs with the same “active moiety” as the first approved drug. Under

the FDCA, NCI exclusivity extends to the first approved drug whose application “contain[ed]

reports of new clinical investigations (other than bioavailability studies) essential to the approval

of the application and conducted or sponsored by the applicant.” 21 U.S.C. § 355(c)(3)(E)(iii).3

If the first approved drug is eligible for NCI exclusivity because its application contained reports



3
  The FDCA defines “bioavailability” as “the rate and extent to which the active ingredient or
[active moiety] therapeutic ingredient is absorbed from a drug product and becomes available at
the site of drug action.” 21 U.S.C. § 355(j)(8)(A)(i). FDA regulations have a similar definition.
21 C.F.R. § 314.3 (defining “[b]ioavailability” as “the rate and extent to which the active ingredient
or active moiety is absorbed from a drug product and becomes available at the site of drug action”).

                                                  8
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 18 of 54




of a qualifying new clinical investigation essential to FDA’s approval of the drug, the FDCA

prohibits FDA from giving full approval to a second drug in an application submitted under section

505(b) for a specified period of time “for the conditions of approval” of the first approved drug if

the applicant for the second drug did not conduct the investigations on which the applicant is

relying to show the safety and efficacy of the second drug and “has not obtained a right of reference

or use from the person by or for whom the investigations were conducted.” Id.

       C.      FDA’s Regulatory Framework for NCI Exclusivity.

       FDA has promulgated regulations to implement the FDCA’s provisions on NCI

exclusivity. Like the FDCA, the regulations exclude bioavailability studies from the clinical

investigations eligible for the exclusivity. 21 C.F.R. § 314.108(a) (defining “clinical investigation”

to mean “any experiment other than a bioavailability study in which a drug is administered or

dispensed to, or used on, human subjects”). FDA regulations define a “bioavailability study” as

“a study to determine the bioavailability or the pharmacokinetics of a drug.” Id.

       FDA’s implementing regulations define the phrase “new clinical investigation” as follows:

       [A]n investigation in humans the results of which have not been relied on by FDA
       to demonstrate substantial evidence of effectiveness of a previously approved drug
       product for any indication or of safety for a new patient population and do not
       duplicate the results of another investigation that was relied on by the agency to
       demonstrate the effectiveness or safety in a new patient population of a previously
       approved drug product. For purposes of this section, data from a clinical
       investigation previously submitted for use in the comprehensive evaluation of the
       safety of a drug product but not to support the effectiveness of the drug product
       would be considered new.

21 C.F.R. 314.108(a) (emphasis added). The regulation further provides that “[e]ssential to

approval means, with regard to an investigation, that there are no other data available that could

support approval of the [application].” Id.

       FDA has not promulgated a regulation that defines the phrase “conditions of approval.”

Nor is the phrase defined in the FDCA. However, FDA’s longstanding view, as applied by the


                                                  9
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 19 of 54




courts, is that the FDCA sets up a “logical relationship between the change in the product for which

the new clinical investigations were essential to approval of the [product], and the scope of any

resulting three-year exclusivity.” Veloxis Pharms., Inc. v. FDA, 109 F. Supp. 3d 104, 120–21

(D.D.C. 2015); AstraZeneca, 872 F. Supp. 2d at 81.              According to FDA’s established

interpretation, the “conditions of approval” “can be no broader than the innovations presented to

the FDA in the new clinical investigations that led to the FDA’s approval of the first-in-time 505(b)

NDA.” Veloxis, 109 F. Supp. 3d at 121 n.16.

II.    FACTUAL BACKGROUND

       A.      Treprostinil Treatment for PH Patients.

       PH is a condition that causes elevated blood pressure in the pulmonary arteries, which can

worsen over time and may lead to heart failure.4 A person with PH suffers from reduced exercise

capacity, greater need for supplemental oxygen, decreased quality of life, and earlier death.

       The identification of various PH subtypes has led to the development of improved and

differentiated treatment strategies. PH subtypes are classified into five different groups (“WHO

Groups”) based on shared histology, pathophysiology, clinical presentation, and treatment

strategy, pursuant to a World Health Organization (“WHO”) symposium in 2013. FDA considers

each WHO Group a distinct disease or condition.5 Thus, a drug approved for one PH indication is

not necessarily approved for other PH indications.

       Both WHO and the New York Heart Association (“NYHA”) have a classification system

to describe the stages of heart failure based upon patient symptoms when performing physical


4
  See, e.g., J.R. Sysol & Roberto F. Machado, Classification and Pathophysiology of Pulmonary
Hypertension,        CONTINUING      CARDIOLOGY        EDUCATION      (July     27,     2018),
https://onlinelibrary.wiley.com/doi/epdf/10.1002/cce2.71.
5
   Orphan Drug Designation: Disease Considerations, FDA (last updated Mar. 9, 2018),
https://www.fda.gov/industry/designating-orphan-product-drugs-and-biological-products/orphan-
drug-designation-disease-considerations.

                                                 10
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 20 of 54




activities.6 While the WHO/NYHA classification is separate from the WHO Groups of PH, it is

used to help characterize the severity of symptoms experienced by patients with PH, and has been

referenced in the approved indications for several UTC treprostinil products. As relevant here,

PAH is designated within WHO Group 1, and is characterized by higher pulmonary arterial

pressure, among other things.7      A hallmark of PAH patients is limited exercise capacity.8

Pulmonary Hypertension Due to Lung Disease and/or Hypoxia, also known as WHO Group 3, is

associated with several other diseases, including Interstitial lung disease (“ILD”), a particularly

devastating form of PH. ILD describes a group of diseases that cause scarring and inflammation

of the lungs, which can result in difficulty breathing and poor exchange of oxygen between the

lungs and blood vessels. PH-ILD is a subset of WHO Group 3.

       Treprostinil is a drug that mimics a naturally occurring substance in the body that affects

dilation of blood vessels. The drug dilates narrowed blood vessels in the lungs, which decreases

lung pressure and reduces the stain on the heart.

       B.      UTC’s Nearly 20-Year Market Exclusivity for Treprostinil Products.

       UTC has maintained a monopoly over treprostinil drugs for treatment of PAH and PH-ILD

by reformulating treprostinil and splicing the patient populations for the drugs to claim eligibility

for successive seven-year ODE and three-year NCI exclusivity periods, which altogether span

more than 20 years.9 UTC’s treprostinil drugs include Remodulin, Orenitram, Tyvaso, and Tyvaso


6
  See, e.g., Classes and Stages of Heart Failure, AMERICAN HEART ASSOCIATION (last reviewed
Jun. 7, 2023), https://www.heart.org/en/health-topics/heart-failure/what-is-heart-failure/classes-
of-heart-failure.
7
  Sysol & Machado, supra note 4.
8
  See, e.g., Robin M. Fowler, Kevin R. Gain & Eli Gabbay, Exercise Intolerance in Pulmonary
Arterial Hypertension, PULMONARY MEDICINE (June 10, 2012),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3377355/pdf/PM2012-359204.pdf.
9
  Under the Orphan Drug Act and FDA regulations, the FDA may confer a seven-year ODE period
for certain drugs that treat rare conditions. A drug that has already been approved for the given
disease or condition may not receive ODE again after that ODE period has elapsed. 21 U.S.C.

                                                 11
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 21 of 54




DPI.

       Remodulin. On May 21, 2002, FDA approved UTC’s Remodulin injection for general

treatment of PAH (WHO Group 1). The ODE period for Remodulin began on May 21, 2002 and

expired on May 21, 2009.10

       Orenitram. On December 20, 2013, FDA approved UTC’s Orenitram for the treatment of

PAH (WHO Group I), and received ODE for PAH to improve exercise capacity. The ODE period

for Orenitram began on December 20, 2013 and expired on December 20, 2020.11 On October 18,

2019, FDA approved a second ODE period for Orenitram for a subset of WHO Group 1 patients

(those treated to delay disease progression only), which ends on October 18, 2026.12

       Tyvaso. While it had ODE for Remodulin, UTC submitted an NDA for Tyvaso Inhalation

Solution (“Tyvaso”) on June 27, 2008, and received FDA approval on July 30, 2009, for the

treatment of pulmonary arterial hypertension (WHO Group 1) in patients with NYHA Class III

symptoms, to increase walk distance.13

       FDA granted an ODE period to UTC’s Tyvaso (treprostinil) on June 17, 2010, and limited

that exclusivity to patients with NYHA Class III symptoms to increase walk distance, a subset of

WHO Group 1. The ODE period for Tyvaso began on July 30, 2009, and expired on July 30,

2016.14 The efficacy of inhaled treprostinil for the treatment of PAH (WHO Group 1) was



§ 527(c); 21 C.F.R. Part 316. ODE is not relevant to this case, except to the extent that it offers
context for inapplicable or already-expired ODE periods held by UTC’s other drugs.
10
    Search Orphan Drug Designations and Approvals, FDA (“Orphan Drug Database”),
https://www.accessdata.fda.gov/scripts/opdlisting/oopd/detailedIndex.cfm?cfgridkey=105197
(last accessed Aug. 20, 2024).
11
   Id.
12
   Id.
13
   FDA, Center for Drug Evaluation and Research (“CDER”), NDA No. 22-387 (Tyvaso
Inhalation Solution) Approval Letter (July 30, 2009),
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2009/022387s000ltr.pdf.
14
   Id.

                                                12
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 22 of 54




demonstrated by one clinical study, the TRIUMPH 001 study (“TRIUMPH”),15 submitted in

support of the Tyvaso NDA.16

       On June 1, 2020, UTC submitted a supplemental NDA for Tyvaso to add a new indication

for treatment of PH-ILD (WHO Group 3) to improve exercise ability, which FDA approved on

March 31, 2021.17 (UTC and FDA subsequently relied on TRIUMPH and the INCREASE study

(“INCREASE”) to establish the safety and efficacy of Tyvaso DPI for PAH and PH-ILD.18)

FDA’s approval of this supplemental NDA based on INCREASE triggered a three-year period of

NCI exclusivity for Tyvaso, which expired on March 31, 2024. According to UTC, this exclusivity

also applied to Tyvaso DPI.

       C.     Liquidia Sought FDA Approval of Yutrepia Over Four Years Ago.

       On January 24, 2020, Liquidia submitted its NDA for Yutrepia (treprostinil inhalation

powder) for treatment of PAH under section 505(b)(2) of the FDCA. Ex. D. This was well before

UTC submitted the Tyvaso DPI NDA to FDA on April 16, 2021. Contrast id., with Ex. C. In the

Yutrepia NDA, Liquidia referenced the safety and efficacy data that UTC had previously

submitted to FDA for Tyvaso, and did not rely on any other listed drug.

       Liquidia conducted its own clinical investigations for Yutrepia. During investigational


15
   Vallerie V. McLaughlin et al., Addition of Inhaled Treprostinil to Oral Therapy for Pulmonary
Arterial Hypertension, J. AM. COLL. CARDIOL. (May 4, 2010),
https://pubmed.ncbi.nlm.nih.gov/20430262/; see also Clinical Investigation Into Inhaled
Treprostinil Sodium in Patients with Severe Pulmonary Arterial Hypertension (PAH)
(TRIUMPH), CLINICALTRIALS (last updated Jan. 2, 2024),
https://www.clinicaltrials.gov/study/NCT00147199.
16
   See FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Clinical Review at 20 (Apr. 3,
2009), https://www.accessdata.fda.gov/drugsatfda_docs/nda/2009/022387s000MedR.pdf.
17
   FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Supplemental Approval Letter
(Mar. 31, 2021),
https://www.accessdata.fda.gov/drugsatfda_docs/appletter/2021/022387Orig1s017ltr.pdf.
18
   See, e.g., FDA, CDER, NDA No. 22-387 (Tyvaso Inhalation Solution) Multi-Discipline
Review at 7 (Feb. 26, 2021),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2021/022387Orig1s017.pdf.

                                               13
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 23 of 54




studies, Yutrepia was known as LIQ861.19 Liquidia’s studies included two Phase 1 studies in

healthy volunteers, as well as a Phase 3, open-label, multicenter trial called INSPIRE, the primary

objective of which was to assess the safety and tolerability of Yutrepia in patients naïve to

prostacyclin therapy and those transitioning from Tyvaso.20 Liquidia completed INSPIRE in

November 2019,21 and released the final results from Phase 3 of INSPIRE in April 2020.22

       D.      UTC’s Patent Suit Against Liquidia Blocks Full Approval of Yutrepia.

       Less than six months after Liquidia’s submission of the Yutrepia NDA to FDA, UTC filed

a patent infringement suit against Liquidia, alleging infringement of several UTC patents for

Tyvaso. See Complaint, United Therapeutics Corp. v. Liquidia Techs., Inc., No. 20-cv-755

(D. Del. June 4, 2020), ECF No. 1. UTC’s lawsuit triggered an automatic stay under the FDCA,

which barred FDA from approving the Yutrepia NDA for a specific period of time.23 On

November 4, 2021, FDA issued a TA to Liquidia for Yutrepia for the treatment of PAH to improve

exercise ability in patients with NYHA functional Class II-III symptoms based upon the primary

endpoints of the INSPIRE Study and comparable bioavailability to Tyvaso. Ex. D. FDA did not

grant full approval for Yutrepia solely due to the stay triggered by UTC’s patent suit. Id.



19
   See Press Release, Liquidia, FDA Grants Tentative Approval for Liquidia’s YUTREPIA™
(Treprostinil) Inhalation Powder (Nov. 8, 2021), https://liquidia.com/node/9416/pdf.
20
   Nicholas S. Hill et al., INSPIRE: Safety and Tolerability of Inhaled Yutrepia (treprostinil) in
Pulmonary         Arterial      Hypertension      (PAH),       PUBMED         (July      1,    2022),
https://onlinelibrary.wiley.com/doi/epdf/10.1002/pul2.12119.
21
   See Investigation of the Safety and Pharmacology of Dry Powder Inhalation of Treprostinil
(INSPIRE), CLINICALTRIALS (last updated July 30, 2024),
https://clinicaltrials.gov/study/NCT03399604.
22
   See Press Release, Liquidia, Liquidia Releases Final LIQ861 Results from Pivotal Phase 3
INSPIRE Study in Patients with Pulmonary Arterial Hypertension (Apr. 30, 2020),
https://investors.liquidia.com/node/7836/pdf.
23
   Because of the statutory patent stay, FDA could not approve Yutrepia until the earlier of the
expiration of the patent, resolution of the lawsuit, or 30 months after a patentee has received notice
from an NDA applicant that a patent that claims the drug is invalid, unenforceable, or will not be
infringed by the drug. 21 U.S.C. § 355(c)(3)(C); 21 C.F.R. § 314.107(b)(3)(viii).

                                                 14
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 24 of 54




         E.     UTC Submits the Tyvaso DPI NDA and Receives FDA Approval.

         During the pendency of Liquidia’s Yutrepia NDA and several months after bringing its

patent suit against Liquidia, UTC submitted an NDA for Tyvaso DPI, a powder inhalation form of

treprostinil, under section 505(b)(1) of the FDCA on April 16, 2021. UTC requested three years

of exclusivity for its NDA. Ex. E at 2.

         The Tyvaso DPI NDA included no new clinical investigations involving patients with PAH

except patients who switched from Tyvaso, and it included no new clinical investigations

involving patients with PH-ILD. Instead, the NDA consisted of: (1) safety and efficacy data

resubmitted from UTC’s earlier TRIUMPH Study and INCREASE Study, which were submitted

to FDA with the Tyvaso NDA as evidence for treprostinil when administered by inhalation,

Ex. F24, and (2) bioavailability data to justify extrapolation of the previously submitted data for

Tyvaso to Tyvaso DPI.25 The studies on which the Tyvaso DPI NDA relied were:

        TRIUMPH: A 12-week randomized, double-blind, placebo-controlled study to investigate
         the efficacy and tolerability of Tyvaso in 235 patients with PAH already receiving other
         PAH treatments. The primary endpoint was change in 6-minute walk distance (“6MWD”)
         at week 12 compared to baseline.26

        INCREASE: A 16-week randomized, double-blind, placebo-controlled study to
         investigate the safety and efficacy of Tyvaso in 326 patients with PH-ILD. The primary
         efficacy endpoint was the change in 6MWD at peak exposure of the drug from baseline to
         week 16.27



24
   FDA, CDER, NDA No. 214324 (Tyvaso DPI) Clinical Review at 10 (“Tyvaso DPI Clinical
Review”) (Sept. 23, 2021),
https://www.accessdata.fda.gov/drugsatfda_docs/nda/2022/214324Orig1s000MedR.pdf.
25
   Leslie A. Spikes et al., BREEZE: Open‐label clinical study to evaluate the safety and
tolerability of treprostinil inhalation powder as Tyvaso DPI™ in patients with pulmonary
arterial hypertension, PULMONARY CIRCULATION 2 (Apr. 12, 2022) (the “BREEZE Study”),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC9063953/pdf/PUL2-12-e12063.pdf.
26
   Vallerie V. McLaughlin et al., supra note 15; see also Ex. A at 12–13 (Exclusivity Decision).
27
   Aaron Waxman et. al., Inhaled Treprostinil in Pulmonary Hypertension Due to Interstitial Lung
Disease,      NEW      ENGLAND        J.  OF    MED.,     Vol    384(4)     (Jan.    13,   2021),
https://www.nejm.org/doi/full/10.1056/NEJMoa2008470.

                                                15
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 25 of 54




        TIP-PH-102: A 6-treatment crossover study of Tyvaso and Tyvaso DPI in 36 healthy
         subjects, which was used to estimate bioavailability in the target patient population.

        BREEZE: A three-week open-label study with a primary objective of “evaluat[ing] the
         safety and tolerability of treprostinil inhalation powder (TreT) in patients currently treated
         with treprostinil inhalation solution.” Ex. G at 2.28 Secondary endpoints were assessment
         of pharmacokinetics following administration, efficacy based upon 6MWD and patient
         evaluation of PAH symptoms, and a preference questionnaire. Of the 51 patients enrolled,
         49 completed the three-week treatment phase. The study excluded patient diagnosed with
         PH for reasons other than PAH (WHO Group 1), such as PH-ILD patients. Id.

         BREEZE—which became the basis for FDA’s Exclusivity Decision at issue in this case—

began in September 2019.29 The results of the study duplicated those of prior studies UTC

submitted for its earlier drug applications, as FDA itself recognized. See Ex. E at 1 (May 2022

Exclusivity Summary noting that BREEZE “provided confirmatory efficacy information only”).

For example, BREEZE observed that adverse events (“AEs”) were “consistent with studies of

[Tyvaso] in patients with PAH, and there were no study drug-related serious AEs.” Ex. G at 2.

FDA’s May 23, 2022 clinical review of Tyvaso DPI confirmed that the prevalence of AEs in

BREEZE was similar to those reported in TRIUMPH. Ex. F at 12. FDA’s review expressly noted

that UTC and FDA did not rely on BREEZE to establish Tyvaso DPI’s safety and effectiveness,

which was already proven by INCREASE and TRIUMPH. Id. FDA’s review further made clear

that, other than TRIUMPH and INCREASE, which were submitted with the Tyvaso NDA, “[n]o

additional evidence for effectiveness was submitted as part of the [Tyvaso DPI NDA].” Id.

         On July 15, 2021, following the submission of the Tyvaso DPI NDA, Liquidia submitted

a letter to FDA to request that FDA deny or limit any award of three-year exclusivity to Tyvaso

DPI.



28
   The BREEZE Study, supra note 25.
29
   See Open-label, Clinical Study to Evaluate the Safety and Tolerability of TreT in Subjects With
PAH Currently Using Tyvaso (BREEZE), CLINICALTRIALS (last updated Jan. 24, 2024),
https://clinicaltrials.gov/study/NCT03950739.

                                                  16
        Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 26 of 54




        On May 23, 2022, FDA approved the Tyvaso DPI NDA for the treatment of PAH (WHO

Group 1) and PH-ILD (WHO Group 3), to improve exercise ability. Ex. C at 1. In an Exclusivity

Summary finalized on the same date FDA granted full approval for Tyvaso DPI, FDA determined

that the drug was not eligible for NCI exclusivity. Ex. E at 1. FDA determined that the Tyvaso

DPI “required review only of bioavailability or bioequivalence data.” Id. FDA explained the basis

for approval “is the safety, tolerability, and bioavailability established in studies,” but “[t]he safety

and tolerability study provided confirmatory efficacy information only.”              Id.   Thus, FDA

concluded Tyvaso DPI was ineligible for NCI exclusivity. Id.

        Unaware that FDA had already determined that Tyvaso DPI was ineligible for NCI

exclusivity, Liquidia submitted a supplemental letter to FDA on July 25, 2022, to support its

request that FDA deny or limit any award of NCI exclusivity to Tyvaso DPI.

        F.      UTC Sues to Block FDA’s Approval of Yutrepia for the PH-ILD Indication
                and Liquidia’s Anticipated Launch of Yutrepia for that Indication.

        On July 24, 2023, while its NDA was pending approval with FDA, Liquidia submitted an

amendment to the Yutrepia NDA to add a new indication: treatment of PH-ILD.30 FDA had

previously confirmed that Liquidia would not need to submit new clinical data for the PH-ILD

indication.31 FDA accepted the amendment for review in September 2023. Id.

        Following FDA’s acceptance of Liquidia’s amendment to the Yutrepia NDA for the PH-

ILD indication, UTC responded on multiple fronts. On February 20, 2024 (nearly a month before

the March 31, 2024 expiration of the NCI exclusivity based on INCREASE that FDA granted to

Tyvaso for the use of inhaled treprostinil to treat PH-ILD patients), UTC sued FDA in a lawsuit


30
   Press Release, Liquidia, Liquidia Submits Amendment to Add PH-ILD Indication to
Tentatively Approved NDA for YUTREPIA™ (trepostinil) Inhalation Powder (July 27, 2023),
https://www.liquidia.com/node/10556/pdf.
31
   See Press Release, Liquidia, FDA Accepts Submission to Add PH-ILD to YUTREPIA™ Label
(Sept. 25, 2023), https://www.liquidia.com/node/10646/pdf.

                                                   17
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 27 of 54




challenging FDA’s acceptance of Liquidia’s amendment to the Yutrepia NDA to add the PH-ILD

indication. See Complaint, United Therapeutics Corp. v. FDA, No. 24-cv-484-JDB (D.D.C. Feb.

20, 2024), ECF No. 1. Thereafter, on March 4, 2024, UTC moved to enjoin FDA from granting

final approval to Yutrepia. Motion for Temporary Restraining Order & Preliminary Injunction

(Mar. 4, 2024), ECF No. 14. This Court denied that motion on March 29, 2024.

       Separately, UTC sued to challenge Liquidia’s launch of Yutrepia for the PH-ILD

indication, which UTC argued infringed new UTC patents. See Complaint, United Therapeutics

Corp. v. Liquidia Techs., Inc., No. 23-cv-00975 (D. Del. Sept. 5, 2023), ECF No. 1. UTC moved

for a preliminary injunction, which the district court denied. United Therapeutics, 2024 WL

2805082, at *1. Among other things, the court noted that UTC “has not shown that it would be

irreparably harmed absent an injunction” because it “is a large company with more than $2 billion

in annual revenue and two decades on the market” and was “prepared to compete with [Liquidia’s]

Yutrepia product.” Id. at *13.

       G.      FDA Issues the Exclusivity Decision and Refuses Full Approval of Yutrepia.

       On August 16, 2024, notwithstanding FDA’s conclusion on May 23, 2022 that BREEZE—

a study submitted with the Tyvaso DPI NDA—was a bioavailability study that did not warrant

NCI exclusivity, Ex. E at 1, FDA relied entirely on BREEZE to justify NCI exclusivity. Ex. A at

38. FDA determined that Tyvaso DPI has NCI exclusivity until May 23, 2025, for all “inhalation

powder dosage form of the active moiety treprostinil for chronic use.” Id. FDA granted such

exclusivity even though it had previously found that TRIUMPH and INCREASE had provided

sufficient evidence of safety and effectiveness of treprostinil when administered by oral inhalation.

       In the Exclusivity Decision, FDA conceded that UTC had “relied on safety and efficacy

data submitted in the Tyvaso NDA and provided relative bioavailability data to justify

extrapolation of the previously submitted data to Tyvaso DPI.” Id. at 12. That safety and efficacy


                                                 18
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 28 of 54




data was specifically from TRIUMPH and INCREASE. Id. The logical inference is that UTC

submitted BREEZE as relative bioavailability data. In the Decision, FDA acknowledged that

BREEZE provided bioavailability data supporting the Tyvaso DPI NDA, since the bioavailability

and safety profiles of Tyvaso and Tyvaso DPI are similar (though they differ in dosage form and

certain features of use). Nevertheless, FDA determined that BREEZE was “not considered to be

solely a bioavailability study.” Id. at 20 (emphasis added). FDA did not identify any support in

the FDCA or its regulations for the conclusion that a study must be solely a bioavailability study

to qualify as a bioavailability study under the FDCA. 21 U.S.C. § 355(c)(3)(E)(iii). Nor did FDA

acknowledge its determination over two years earlier that Tyvaso DPI did not qualify for NCI

exclusivity because there were no new clinical studies provided with the Tyvaso DPI NDA and

the NDA merely required review of bioavailability data (i.e., BREEZE was a bioavailability

study). Compare Ex. A, with Ex. E.

       The Exclusivity Decision delays approval of Yutrepia for both the PAH and PH-ILD

indications—i.e., the specific conditions for which Yutrepia is intended as a treatment option for

patients—for at least nine months. Ex. A at 38. Thus, although FDA has found Yutrepia is safe

and effective to treat patients with PAH and PH-ILD, and included drug labeling for Yutrepia

covering both the PAH and PH-ILD indications, Liquidia cannot lawfully launch Yutrepia for any

indication because of the NCI exclusivity that FDA erroneously awarded to Tyvaso DPI on the

basis of BREEZE. Id. at 19.

       H.      FDA’s Exclusivity Decision Will Cause Irreparable Harm to Liquidia.

       FDA’s award of NCI exclusivity to Tyvaso DPI, and its resulting failure to provide full

approval for Yutrepia on that basis, poses immediate and substantial harm to Liquidia. Absent

relief from this Court, Liquidia faces substantial harm from the Exclusivity Decision. Had FDA

granted full approval to distribute Yutrepia effective August 16, 2024, Liquidia was ready to


                                               19
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 29 of 54




launch marketing by early September 2024. Declaration of Mike Kaseta (“Kaseta Decl.”) ¶ 10.

Now, as a result of the Exclusivity Decision, Liquidia is deprived of the opportunity to market

Yutrepia for at least nine months—time that Liquidia can never get back. Id. ¶¶ 9–10. The

permanent loss of that marketing opportunity prevents Liquidia from realizing any economic gain

for at least three quarters in a market for inhaled treprostinil that has an estimated current run rate

of $1.5 billion and the potential to grow in excess of $3 billion in the coming years. Id. ¶ 10.

FDA’s Exclusivity Decision deprives Liquidia’s salesforce of the ability to carry out their duties

and responsibilities to secure sales of Yutrepia and generate revenue from those sales for at least

nine months. Id. ¶¶ 11. By depriving Liquidia of the opportunity to market Yutrepia immediately,

the Exclusivity Decision also threatens Liquidia’s operations by depriving Liquidia of revenue that

Liquidia would use to alleviate operating losses and jeopardizing funding of Liquidia’s research

and development programs. Id. ¶¶ 12–14. Full approval of Yutrepia effective immediately for

any of its intended uses would prevent these harms to Liquidia. Id. ¶ 15.

                                       LEGAL STANDARD

       The issuance of a preliminary injunction is within this Court’s sound discretion, Bayer

Healthcare, LLC v. FDA, 942 F. Supp. 2d 17, 23 (D.D.C. 2013), and is appropriate when (1) the

movant is likely to succeed on the merits, (2) the movant is likely to suffer irreparable harm absent

relief, (3) the balance of equities tips in the movant’s favor, and (4) issuance of an injunction is in

the public interest. Winter, 555 U.S. at 20. Liquidia satisfies each factor.

                                           ARGUMENT

I.     LIQUIDIA HAS A STRONG LIKELIHOOD OF SUCCESS ON THE MERITS OF ITS APA CLAIMS
       CHALLENGING FDA’S UNLAWFUL EXCLUSIVITY DECISION.

       The likelihood of success on the merits is the “most important factor” in evaluating a

preliminary motion injunction. See Aamer v. Obama, 742 F.3d 1023, 1038 (D.C. Cir. 2014).



                                                  20
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 30 of 54




“[T]he APA delineates the basic contours of judicial review of such action.” Loper Bright, 144 S.

Ct. at 2261. Under the APA, a court must “hold unlawful and set aside agency action, findings,

and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law,” or “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2), (A), (C). Liquidia has a strong likelihood of success on the

merits of its APA claims challenging FDA’s Exclusivity Decision.

       A.      FDA Exceeded Its Statutory Authority and Acted Contrary to Law.

       At this preliminary juncture, Liquidia’s APA claims require this Court to determine

whether FDA likely exceeded its statutory authority and acted contrary to the FDCA and FDA

regulations. The method by which this Court must review the APA issues raised in this case was

recently settled by the Supreme Court. As the Court instructed in Loper Bright, under the APA,

“courts, not agencies, will decide ‘all relevant questions of law’ arising on review of agency

action.” 144 S. Ct. at 2261 (citing 5 U.S.C. § 706) (emphasis added). The APA “prescribes no

deferential standard … to employ in answering … legal questions.” Id. (emphasis added). Instead,

“[c]ourts must exercise their independent judgment in deciding whether an agency has acted within

its statutory authority, as the APA requires.” Id. at 2273 (emphasis added).

       In performing its review, the court must “police the outer statutory boundaries” of any

authority delegated to the agency to “ensure that agencies exercise their discretion consistent with

the APA.” Id. at 2268. Thus, unlike every prior case addressing NCI exclusivity (which relied on

now-abrogated Chevron deference), this Court must determine the “best reading of the statute and

resolve the ambiguity” in a statutory provision, if any. Id. at 2266. Loper Bright confirmed what

the D.C. Circuit has long recognized, that under the APA “[t]he judiciary remains the final

authority with respect to questions of statutory construction and must reject administrative agency

actions which exceed the agency’s statutory mandate or frustrate congressional intent,” American


                                                 21
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 31 of 54




Financial Services Association v. FTC, 767 F.2d 957, 968 (D.C. Cir. 1985), and that agency action

is contrary to law “[i]n the absence of statutory authorization for its act.” Hikvision USA, Inc. v.

FCC, 97 F.4th 938, 944 (D.C. Cir. 2024) (quoting Atl. City Elec. Co. v. FERC, 295 F.3d 1, 8 (D.C.

Cir. 2002)).

       As for FDA’s application of its regulations governing NCI exclusivity, agency action is

contrary to law when the agency acts contrary to its own regulations. See Nat’l Env’t. Dev. Ass’ns

Clean Air Project v. EPA, 752 F.3d 999, 1009 (D.C. Cir. 2014) (“[An] agency is not free to ignore

or violate its regulations while they remain in effect.”) (internal quotation marks and citation

omitted); Accrediting Council for Indep. Colls. & Schs. v. Devos, 303 F. Supp. 3d 77, 104 (D.D.C.

2018) (“the Secretary’s violation of the [statute] and the regulations … independently support

findings that the APA was violated”).

       This Court reviews an agency’s interpretation of its own regulations pursuant to the

framework in Kisor v. Wilkie, 585 U.S. 558, 607 (2019). Under this framework, the court cannot

afford deference to FDA’s interpretation of its regulations “unless, after exhausting all the

‘traditional tools’ of construction, … the regulation is genuinely ambiguous.” Id. at 574. Even if

a court determines a regulation is ambiguous, Kisor requires that the agency’s interpretation must

be reasonable, 588 U.S. at 575-76, and even then “countervailing reasons” may “outweigh”

deference. Id. at 573.

       Applying these standards, Liquidia has a strong likelihood of success on its APA claims

that FDA exceeded its authority and acted contrary to law because Tyvaso DPI is ineligible for

NCI exclusivity based on BREEZE. Even if any NCI exclusivity could attach (it could not), FDA

has exceeded the bounds of its authority under the FDCA by extending NCI exclusivity beyond

the narrow scope of any exclusivity BREEZE could possibly provide for Tyvaso DPI.




                                                22
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 32 of 54




               1.      Tyvaso DPI Was Ineligible for NCI Exclusivity Because BREEZE Was
                       Not a New Clinical Investigation.

       FDA Exclusivity’s Decision fails at the outset because BREEZE—the sole study

underlying FDA’s Exclusivity Decision awarding NCI exclusivity to Tyvaso DPI—fails threshold

statutory and regulatory requirements. 21 U.S.C. § 355(c)(3)(E)(iii); 21 C.F.R. § 314.108(a).

                       a.     BREEZE Is a Bioavailability Study that Cannot Support NCI
                              Exclusivity as a Matter of Law.

       FDA’s determination that Tyvaso DPI was eligible for NCI exclusivity was contrary to law

because BREEZE is a bioavailability study that cannot support NCI exclusivity as a matter of law.

       The text of the FDCA is the starting point. Cmty. for Creative Non-Violence v. Reid, 490

U.S. 730, 739 (1989). The FDCA unambiguously instructs that NCI exclusivity is limited to a

drug application that “contains reports of new clinical investigations (other than bioavailability

studies.)” 21 U.S.C. § 355(c)(3)(E)(iii) (emphasis added). The plain language of this provision

means that—whatever the scope of the statutory phrase “new clinical investigations” (which is

discussed below, see infra Part I.A.1.b)—“bioavailability studies” are categorically excluded from

the types of NCIs that could legally support exclusivity. FDA’s regulations similarly define

“[c]linical investigation” to mean “any experiment other than a bioavailability study in which a

drug is administered or dispensed to, or used on, human subjects.” 21 C.F.R. § 314.108(a)

(emphasis added). Thus, like the FDCA, FDA regulations categorically exclude bioavailability

studies from clinical investigations that could trigger NCI exclusivity.

       There can be no serious question that BREEZE is a bioavailability study ineligible for NCI

exclusivity. First, FDA itself recognized that BREEZE is a bioavailability study in May 2022

when it approved Tyvaso DPI. See Ex. E at 1. Indeed, over two years before it issued the

Exclusivity Decision, FDA prepared an exclusivity summary for Tyvaso DPI in which FDA had

already deemed BREEZE a bioavailability study. Id. Second, BREEZE evaluated the absorption


                                                23
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 33 of 54




in patients of Tyvaso DPI, which alone would render the study a bioavailability study under the

FDCA’s statutory text.32 Third, in the Exclusivity Decision, FDA itself repeatedly recognized that

BREEZE’s endpoints were bioavailability endpoints. See Ex. A at 14 (recognizing that an

“endpoint” of the study was “PK assessment[] after administration of each treatment”). Because

BREEZE was a bioavailability study, FDA could not rely on it as the basis for NCI exclusivity.

This alone renders the Exclusivity Decision in excess of FDA’s statutory authority, and contrary

to the FDCA and FDA regulations.

         FDA’s assertion in the Exclusivity Decision that it did not consider BREEZE to be “solely”

a bioavailability study cannot salvage the Decision. Id. at 20. The FDCA categorically excludes

“bioavailability studies” from the types of new clinical investigations eligible for NCI exclusivity.

21 U.S.C. § 355(c)(3)(E)(iii). FDA regulations similarly exclude “a bioavailability study” from

the definition of a “clinical investigation” that can trigger NCI exclusivity. 21 C.F.R. § 314.108(a).

There is no exception for bioavailability studies that also include other endpoints that would not

be treated as a bioavailability study if taken in isolation. FDA’s interpretation in the Exclusivity

Decision improperly inserts the word “solely” into the FDCA and FDA regulations. But FDA has

no authority to rewrite the statute. See ASARCO, Inc. v. EPA, 578 F.2d 319, 327 (D.C. Cir. 1978)

(“The agency has no authority to rewrite the statute in this fashion.”).             Nor can FDA

“constructively rewrite the regulation … through internal memoranda or guidance directives that

incorporate a totally different interpretation and effect a totally different result.” Nat’l Family

Planning & Reprod. Health Ass’n, Inc. v. Sullivan, 979 F.2d 227, 236 (D.C. Cir. 1992); see also

Zhang v. U.S. Citizenship & Immigr. Servs., 344 F. Supp. 3d 32, 58 (D.D.C. 2018) (“[A] policy

that adds a requirement not found in the relevant regulation is a substantive rule that is invalid



32
     See The BREEZE Study, supra note 25.

                                                 24
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 34 of 54




unless promulgated after notice and comment.”). This, too, renders the Exclusivity Decision in

excess of statutory authority and contrary to law.

                       b.     BREEZE Was Not a New Clinical Investigation.

       FDA’s determination that Tyvaso DPI was eligible for NCI exclusivity was further

contrary to law because BREEZE was not a new clinical investigation, but rather a “confirmatory”

study that duplicated the results of prior investigations whose results UTC had submitted to FDA

to demonstrate the safety and efficacy of Tyvaso.

       The FDCA unambiguously states that NCI exclusivity is limited to a drug application that

“contains reports of new clinical investigations (other than bioavailability studies).” 21 U.S.C.

§ 355(c)(3)(E)(iii) (emphasis added). The FDCA does not define the phrase “new clinical

investigations,” but FDA regulations do. In the FDA regulation that implements the FDCA’s NCI

exclusivity provision, FDA defines the statutory phrase “[n]ew clinical investigation” as “an

investigation in humans the results of which have not been relied on by FDA to demonstrate

substantial evidence of effectiveness of a previously approved drug product for any indication or

of safety for a new patient population and do not duplicate the results of another investigation

that was relied on by the agency to demonstrate the effectiveness or safety in a new patient

population of a previously approved drug product.” 21 C.F.R. § 314.108(a) (emphasis added).

       BREEZE fails to meet the threshold requirement of a “new clinical investigation” because

its results duplicated TRIUMPH and INCREASE—studies that UTC had previously provided

FDA and on which FDA had relied to approve Tyvaso DPI.              Specifically, BREEZE was

“conducted in 51 [PAH] patients on stable doses of Tyvaso who switched to a corresponding dose

of Tyvaso DPI.” Ex. G at 3. BREEZE compared these patients’ baselines prior to the switch to

three weeks after starting Tyvaso DPI and ultimately found “comparable systemic exposure [of

treprostinil] between the two formulations.” Id. at 2. Thus, at most, BREEZE merely confirmed


                                                25
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 35 of 54




that PAH patients already taking Tyvaso would not face adverse consequences when taking an

equivalent dose of treprostinil in dry powder format. The duplicative nature of BREEZE’s results

is the very reason why FDA has repeatedly stated that BREEZE was merely a “confirmatory

study.” Ex. E at 1 (emphasis added); Ex. F at 13 (FDA’s May 2022 clinical review for Tyvaso

DPI concluded that BREEZE merely identified “[n]o new risks associated with treprostinil

formulated as an inhaled powder (Tyvaso DPI) were identified in the BREEZE study.”); Ex. A at

15 (FDA’s conclusion in the Exclusivity Decision that “[n]o new risks associated with treprostinil

formulated as an inhaled powder (Tyvaso DPI) were identified in the BREEZE study.”). Because

BREEZE merely duplicated the results of TRIUMPH and INCREASE, it cannot qualify as a “new

clinical investigation” under FDA’s regulations. Thus, FDA’s determination was contrary to law.

               2.      Tyvaso DPI Was Ineligible for NCI Exclusivity Because BREEZE Was
                       Not Essential to the Approval of Tyvaso DPI.

       FDA’s grant of NCI exclusivity was also unlawful because the BREEZE Study was not

“essential” to the approval of Tyvaso DPI. Even if a study qualifies as a new clinical investigation,

the FDCA requires that the investigation must be “essential to the approval of the application.” 21

U.S.C. § 355(c)(3)(E)(iii). The FDCA does not define the phrase “essential to approval.”

Consistent with the FDCA’s intent to reward innovation through the Hatch-Waxman

Amendments, FDA’s regulations define the phrase “essential to approval” to mean, “with regard

to an investigation, that there are no other data available that could support approval of the NDA.”

21 CFR § 314.108(a). BREEZE does not satisfy this regulatory requirement.

       BREEZE was not “essential” to the approval of Tyvaso DPI because there were “other data

that could [and did] support approval of the NDA.” Ex. A at 10. UTC had already established the

required safety and efficacy criteria essential to FDA approval with TRIUMPH and INCREASE.

And because there was already data available, BREEZE was simply a “confirmatory study”



                                                 26
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 36 of 54




corroborating that the safety results for “patients with PAH currently treated with treprostinil

inhalation solution [Tyvaso]” that were switched to Tyvaso DPI had comparable outcomes at the

three-week mark. Ex. G at 4. Merely “confirming” that equivalent doses of treprostinil (via

Tyvaso DPI) would not harm PAH patients who switched from the same dosing of treprostinil (via

Tyvaso) cannot satisfy the regulatory standard for a study that is “essential to the approval” of an

NDA. This independently renders Tyvaso DPI ineligible for NCI exclusivity based on BREEZE

under the FDCA and FDA regulations.

               3.      FDA’s Exclusivity Decision Exceeds the Limited Scope of NCI
                       Exclusivity that the FDCA Allows for the “Conditions of Approval.”

       Liquidia also is likely to prevail on its APA claims that FDA exceeded its statutory

authority and acted contrary to law in granting NCI exclusivity to Tyvaso DPI that exceeds the

narrow scope of exclusivity permitted by the FDCA. FDA acted contrary to law by applying NCI

exclusivity for Tyvaso DPI to block Yutrepia entirely, let alone for each indication.

                       a.      Under the FDCA, the “Conditions of Approval” Must Be
                               Linked to the Innovative Change Presented by the New Clinical
                               Investigation that Makes a Drug Eligible for Exclusivity.

       The FDCA prohibits FDA from granting boundless NCI exclusivity even if a drug is

eligible for such exclusivity. The FDCA unambiguously provides that NCI exclusivity attaches

only “for the conditions of approval of such drug.” 21 U.S.C. § 355(c)(3)(E)(iii) (emphasis

added). Thus, the “conditions of approval” of the first NDA delineate the outer boundaries of NCI

exclusivity that FDA may lawfully extend to a drug without running afoul of the FDCA. After

identifying the “conditions of approval” of the first NDA, the next step is to “identif[y] the relevant

conditions of approval shared between [the drug receiving NCI exclusivity and the competitor

drug’s NDA],” as NCI exclusivity covers only the overlap between the conditions of approval.

Veloxis, 109 F. Supp. 3d at 120 (emphasis added).



                                                  27
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 37 of 54




       In determining the meaning of the FDCA’s undefined phrase “conditions of approval,” it

is the role of this Court to determine its plain meaning and, if it is ambiguous, to “use every tool

at [its] disposal to determine the best reading of the statute and resolve the ambiguity.” Loper

Bright, 144 S. Ct. at 2266; cf. Braeburn Inc. v. FDA, 389 F. Supp. 3d 1, 23 (D.D.C. 2019) (“Section

355(c)(3)(E)(iii)’s ambiguity is not a license for the FDA to adopt any interpretation it chooses.”).

       As FDA has acknowledged, and courts have made clear, “the scope of [NCI] exclusivity

… can be no broader than the innovations presented to the FDA in the new clinical investigations

that led to the FDA’s approval of the first-in-time … NDA.” Veloxis, 109 F. Supp. 3d at 121 n.16

(emphasis added). This is the best reading of the FDCA’s NCI exclusivity provision, and it aligns

with prior decisions in this district. Specifically, in Braeburn, the court opined that the most

plausible meaning of “conditions of approval” in the FDCA is “tied to the specific characteristics

of the drug that warranted exclusivity in the first instance,” i.e., “the novel indications or patient

populations for which the drug product may be used.” 389 F. Supp. 3d at 22–23. As Braeburn

noted, this interpretation “serv[es] the Hatch-Waxman Amendments’ objective of finding an

equilibrium that protects research and leaves room for market competition.” Id. at 23. Similarly,

the court in AstraZeneca, held that the FDCA’s “conditions of approval” require a “logical

relationship between the change in the product for which the new clinical investigations were

essential to approval of the [NDA], and the scope of any resulting three-year [NCI] exclusivity.”

872 F. Supp. 2d at 80.

       Thus, the scope of NCI exclusivity, if any, must be limited to the innovative changes

presented by the new clinical investigation that were necessary for approval of the application.

See id. at 83 (opining that the “substantive relationship between new clinical studies and changes

in the [NDA] ... dictates what changes receive exclusivity”); see also 54 Fed. Reg. 28872, 28896




                                                 28
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 38 of 54




(July 10, 1989) (“Exclusivity provides the holder of an approved new drug application limited

protection from new competition in the marketplace for the innovation represented by its approved

drug product.”). A study showing a drug’s active ingredient is safe and effective for a given

indication or use cannot justify NCI exclusivity if FDA previously approved an NDA based on a

study showing the safety and effectiveness of the same active ingredient for the same indication

or use. Only an NDA with “new clinical investigations” and new safety and efficacy findings for

“new indications or uses of the already approved pioneer drug” may receive NCI exclusivity—and

only for those “new indications or use.” AstraZeneca, 872 F. Supp. 2d at 64, 85.

                       b.     FDA’s Exclusivity Decision Flouts the FDCA’s Boundaries.

       The Exclusivity Decision flouts the FDCA’s boundaries limiting the scope of NCI

exclusivity to the innovation supported by a new clinical investigation. The Exclusivity Decision

improperly confers sweeping NCI exclusivity to Tyvaso DPI across the entire “inhalation powder

dosage form for the active moiety treprostinil for chronic use,” Ex. A at 30, for both the PAH and

PH-ILD indications. This sweeping exclusivity was unlawful because BREEZE, a 3-week

confirmatory study, was not designed to study “chronic use.” FDA exceeded its statutory authority

and acted contrary to law when it awarded NCI exclusivity to Tyvaso DPI for this broad use rather

than the limited set of “conditions of approval” that BREEZE could support.

       First, the Tyvaso DPI NDA did not actually contain an innovation that could justify an

award of NCI exclusivity. In the Exclusivity Decision, FDA asserted that “the innovation

represented by Tyvaso DPI for which a new clinical investigation [the BREEZE Study] was

essential is the inhalation powder dosage form for the active moiety treprostinil for chronic use.”

Ex. A at 30. But Liquidia—not UTC—was the true innovator of this form of treprostinil. As FDA

recognized in the Decision, “Yutrepia is a proposed treprostinil inhalation powder for chronic use.”

Id. at 38. Liquidia submitted an NDA for an inhalation powder dosage form of treprostinil (i.e.,


                                                29
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 39 of 54




Yutrepia) in 2020. Id. at 18. And as FDA recognized, FDA gave Liquidia tentative approval to

Yutrepia on November 4, 2021. Id. Thus, the purportedly innovative change reflected in Tyvaso

DPI was already the subject of NDA submitted by a different applicant (i.e., Liquidia) nearly a

year and a half before FDA approved the Tyvaso DPI on May 23, 2022.

         Second, even if Tyvaso DPI’s inhalation powder dosage form were deemed an innovative

change, the Exclusivity Decision flouts the FDCA because BREEZE did not adequately study that

change, let alone in any way that could justify an award of NCI exclusivity. According to FDA,

“the BREEZE study answered for the first time whether the active moiety treprostinil administered

as an inhalation powder is safe and tolerable for chronic use.” Ex. A at 30. However, as FDA

recognized in the Exclusivity Decision, the data BREEZE provided was “limited.” Id. at 15, 21

(emphasis). The purported safety data that FDA highlights in the Decision is from the three-week

treatment phrase of BREEZE. Id. at 17 (Table 1 graphic). That 3-week period of the study was

not designed to evaluate long-term safety; that issue was for the optional extension phase in the

study “[a]fter completing the 3-week treatment phase.”33 Even accounting for the results from

BREEZE’s optional phase along with the treatment phase, none of BREEZE’s findings were

adequate to address chronic use of treprostinil administered as an inhalation powder. BREEZE

was merely “an open-label, unblinded study with short follow‐up and without a control group and

was not designed to show improvement in efficacy.”34 Thus, by its very design, BREEZE could

not generate meaningful answers to the purported question for which FDA claimed a new clinical

investigation was necessary.

         Third, even if BREEZE’s defects were ignored (and they should not be), FDA’s grant of




33
     The BREEZE Study, supra note 25 at 3 (emphasis added).
34
     Id. at 12 (emphasis added).

                                               30
        Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 40 of 54




NCI exclusivity to Tyvaso DPI for PAH and PH-ILD patients was unlawful. It is undisputed that

the Tyvaso DPI NDA had no clinical investigations with PAH patients who did not switch from

Tyvaso to Tyvaso DPI. Instead, BREEZE studied a narrow patient population—PAH patients who

were already taking stable doses of Tyvaso. Id. at G at 2. As FDA explained, BREEZE simply

switched “patients with PAH currently treated with [Tyvaso] [I]nhalation [S]olution” to Tyvaso

DPI and confirmed comparable outcomes at the three-week mark. Id. at 4. BREEZE excluded all

other PAH patients (i.e., patients not already taking stable doses of Tyvaso). It is also undisputed

that BREEZE, by design, excluded PH-ILD patients. FDA could not lawfully grant Tyvaso DPI

any NCI exclusivity for treatment of PAH patients who did not switch from Tyvaso or lawfully

grant Tyvaso DPI any NCI exclusivity for treatment of PH-ILD patients because neither could

have been a “condition of approval” for Tyvaso DPI due to BREEZE’s narrow design. FDA’s

contrary determination reaches beyond the boundaries set by the FDCA and FDA regulations and

grants NCI exclusivity for “conditions of approval” BREEZE does not establish.

       B.      FDA’s Exclusivity Decision Is Arbitrary and Capricious.

       Liquidia is likely to prevail on its claim that FDA’s application of the statutory and

regulatory standards in the Exclusivity Decision was arbitrary and capricious. An agency acts

arbitrarily or capriciously if it “has relied on factors which Congress has not intended it to consider,

entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs. Ass’n

of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). An agency also acts

arbitrarily and capriciously when it “decides to change” course but fails to “supply a reasoned

analysis indicating prior policies are being deliberately changed, not casually ignored.” Nuclear

Energy Inst., Inc. v. EPA, 373 F.3d 1251, 1296 (D.C. Cir. 2004) (“If an agency decides to change


                                                  31
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 41 of 54




course we require it to supply a reasoned analysis indicating that prior policies and standards are

being deliberately changed, not casually ignored.” (internal quotation marks and citation omitted)).

FDA’s Exclusivity Decision cannot survive arbitrary and capricious review here.

               1.      FDA’s Novel Determination that BREEZE Is a New Clinical
                       Investigation Contradicted FDA’s Prior Conclusions.

       FDA’s novel determination in the Exclusivity Decision that BREEZE can justify NCI

exclusivity for Tyvaso DPI is arbitrary and capricious because it contradicts FDA’s prior

conclusions over two years ago—conclusions that FDA failed even to acknowledge. First, FDA’s

determination in the Exclusivity Decision that “[t]he BREEZE study … qualifies as a new clinical

investigation,” Ex. A at 20 (emphasis in original), contradicts FDA’s contrary conclusion years

earlier. On May 23, 2022, the same day FDA gave final approval to Tyvaso DPI, FDA issued an

Exclusivity Summary in which it determined that the Tyvaso DPI contained no reports of clinical

investigations. Ex. E at 3. On that basis alone, contemporaneous with FDA’s approval of Tyvaso

DPI, FDA determined that the studies provided with the Tyvaso DPI could not be either “new

clinical investigations” or “essential to the approval” of Tyvaso DPI. Id. at 3–5. FDA fails to

acknowledge in the Exclusivity Decision that its new conclusion contradicts its prior conclusion,

let alone explain that reversal. This is the hallmark of arbitrary and capricious agency action.

       Second, FDA’s determination in the Exclusivity Decision that BREEZE was “considered”

to be “an investigation other than a bioavailability study,” Ex. A at 20 (emphasis in original),

contradicts the same 2022 Exclusivity Summary. In fact, FDA recognized in the Exclusivity

Summary that BREEZE is a bioavailability study. Ex. A at 1. The Exclusivity Decision itself also

appears to acknowledge that BREEZE is a bioavailability study when it notes that, “[t]o support

approval of Tyvaso DPI, [UTC] relied on safety and efficacy data submitted in the Tyvaso NDA

and provided relative bioavailability data [from TIP-PH-102 and BREEZE] to justify



                                                32
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 42 of 54




extrapolation of the previously submitted data to Tyvaso DPI.” Ex. A at 12 (emphasis added).

The Exclusivity Decision’s inconsistency with FDA’s own prior determination and FDA’s related

failure to acknowledge that FDA was adopting a new conclusion, is arbitrary and capricious.

               2.      FDA’s Determination in the Exclusivity Decision that BREEZE Was a
                       New Clinical Investigation Was Implausible Under FDA’s
                       Longstanding Policy.

       FDA’s determination that BREEZE qualified as a “new clinical investigation” was

arbitrary and capricious because it was implausible under FDA’s longstanding policy regarding

the types of studies that will be eligible for NCI exclusivity. When it promulgated regulations to

implement the Hatch-Waxman Amendments nearly 35 years ago, FDA staked out its position that

NCI exclusivity under § 505(c)(3)(E)(iii) is “limit[ed] … to changes in a drug product that are

significant enough to require human safety or effectiveness studies for approval.” 54 Fed. Reg. at

28899. FDA explained that “most studies qualifying for exclusivity will be efficacy studies,” with

“occasional clinical investigations qualifying for exclusivity that establish that a product is safer

than originally thought and that permit broader use of the drug.” Id. (emphasis added).

       BREEZE does not qualify as a new clinical investigation under this policy. BREEZE “was

not designed to show improvement in efficacy.” Ex. G at 12 (emphasis added). Nor could

BREEZE establish that Tyvaso DPI—the specific product under review in the Tyvaso DPI NDA—

was safer than originally thought. While FDA repeatedly asserts in the Exclusivity Decision that

BREEZE studied a “broader use of treprostinil,” Ex. A at 24 n.87, 25, 26, this conclusory statement

is belied by the study’s design and results. BREEZE did not establish that Tyvaso DPI was safer

than Tyvaso Inhalation Solution. As discussed above, FDA found only that BREEZE confirmed

the safety profile of treprostinil already known to FDA in the drug’s two forms. BREEZE also did

not study an expanded patient population to support a “broader use” of treprostinil because it was,

in fact, limited to a population switching from a nebulized solution form of treprostinil (i.e.,


                                                 33
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 43 of 54




Tyvaso) to Tyvaso DPI. As to these patients, FDA has repeatedly recognized that “(BREEZE)

provide[d] limited safety data.” Ex. F at 32; see also Ex. A at 15 (noting that “BREEZE study

provided limited safety data”). And, as FDA notes in the Exclusivity Decision, the median overall

population change in the patient-reported outcome measure in BREEZE was zero, which suggests

that the median patient did not experience any detectable improvement in symptoms. Id. at 16.

The conclusion that BREEZE did not support “broader use” is further evidenced by the final label

for Tyvaso DPI, which covers the same patient population as the label for Tyvaso.35 Thus, the

Exclusivity Decision cannot be justified under FDA’s own interpretation of the types of

investigations that may qualify for NCI exclusivity.

               3.      FDA’s Determination that BREEZE Was Essential to the Approval of
                       Tyvaso DPI Was Irrational and Plainly Contrary to the Evidence.

       FDA’s determination that BREEZE was essential to the approval of Tyvaso DPI was

arbitrary and capricious because it was irrational and contrary to the evidence before the agency.

       First, FDA could not rationally conclude that BREEZE “was essential to the approval of

treprostinil in a new dosage form, i.e., inhalation powder,” Ex. A at 25, given that FDA had already

determined—in November 2021—that Yutrepia satisfied safety and efficacy requirements without

the safety and efficacy data in BREEZE that was purportedly essential. In the Exclusivity

Decision, FDA opined that BREEZE “assessed a specific safety question, the tolerability of

multiple doses daily over multiple weeks of treprostinil in the new inhalation powder dosage form

to support approval for chronic use.” Id. However, as the Exclusivity Decision recognizes,

Yutrepia and Tyvaso DPI are both “inhalation powder” treprostinil drugs intended “for chronic



35
   Tyvaso Label at 1 (revised July 2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/022387LBL.pdf (“Tyvaso is a
prostacyclin vasodilator indicated for the treatment of pulmonary arterial hypertension (WHO
Group I) in patients with NYHA Class III symptoms, to increase walk distance.”).

                                                34
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 44 of 54




use.” Id. at 38. And as FDA acknowledges, it provided tentative approval to Yutrepia in

November 2021. Id. at 37 n.146. FDA gave that tentative approval to Yutrepia—nearly six months

before FDA approved Tyvaso DPI—because FDA determined Yutrepia met all requirements

under the FDCA and FDA regulations for approval, including safety and efficacy requirements.

Ex. D. The safety and efficacy data Liquidia referenced in the Yutrepia NDA was the data for the

listed Tyvaso drug—the same data UTC also referenced to obtain FDA approval for Tyvaso DPI.

Ex. A at 12 (Exclusivity Decision, noting that Tyvaso DPI, though submitted as a 505(b)(1)

application, was similar to a 505(b)(2) application in that it relied on data previously submitted to

FDA by UTC). Thus, FDA cannot rationally assert that BREEZE was “essential to approval” of

a dry powder formulation of treprostinil when FDA had already determined that Yutrepia satisfied

safety and efficacy requirements without such data.         FDA’s Exclusivity Decision fails to

acknowledge, let alone explain, its novel and contradictory “essential to approval” finding.

         Second, if approval of Tyvaso DPI hinged on the need for data concerning the safety of the

drug for chronic use, as FDA asserted in the Exclusivity Decision, see Ex. A at 23, BREEZE was

not designed to answer that question, let alone with adequate data. See supra Part I.A.2.b. As

discussed above, the purported safety data that FDA highlights in the Exclusivity Decision comes

from the three-week treatment phrase of BREEZE. Ex. A at 17. That phase was not designed to

evaluate long-term safety; that issue was for the optional extension phase in the study “[a]fter

completing the 3-week treatment phase.”36 Even accounting for the optional phase, BREEZE

could not generate findings adequate to address the question. BREEZE was merely “an open-

label, unblinded study with short follow‐up and without a control group and was not designed to




36
     The BREEZE Study, supra n.25 at 3 (emphasis added).

                                                 35
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 45 of 54




show improvement in efficacy.”37 As FDA itself recognized in the Exclusivity Decision, the data

BREEZE provided was “limited.” Ex. A at 15, 21. Thus, FDA could not plausibly rely on

BREEZE itself as adequate evidence of the safety of Tyvaso DPI for “chronic use,” let alone as

evidence that could justify an award of NCI exclusivity.

         Third, the Exclusivity Decision is also arbitrary and capricious because FDA does not

explain how BREEZE was “essential to the approval” of Tyvaso DPI for both the PAH and PH-

ILD indications.38 As noted above, BREEZE did not study use of Tyvaso DPI in the PH-ILD

population. The only safety and efficacy data available before the agency for that indication came

from INCREASE, a study that triggered a prior period of NCI exclusivity that expired in March

2024. FDA therefore cannot logically assert that BREEZE was essential to the approval of Tyvaso

DPI for the PH-ILD indication because the record plainly shows that BREEZE provided no safety

and efficacy data for that indication.     This alone renders FDA’s “essential to approval”

determination arbitrary and capricious for the PH-ILD indication.

                 4.     FDA Failed to Articulate the “Conditions of Approval” for Tyvaso DPI
                        or How Those Conditions Could Block Full Approval of Yutrepia.

         FDA’s Exclusivity Decision violates the APA because BREEZE does not satisfy FDA’s

own longstanding interpretation of the statutory phrase “conditions of approval” and, therefore,

departs without explanation from FDA’s own practices. See Physicians for Soc. Resp. v. Wheeler,

956 F.3d 634, 644 (D.C. Cir. 2020) (“Reasoned decision-making requires that when departing

from precedents or practices, an agency must ‘offer a reason to distinguish them or explain its

apparent rejection of their approach.’”) (citation omitted); Dillmon v. NTSB, 588 F.3d 1085, 1089–

90 (D.C. Cir. 2009) (reasoned decision-making “necessarily requires the agency to acknowledge



37
     Id. at 12 (emphasis added).
38
     Tyvaso Label, supra note 35.

                                               36
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 46 of 54




and provide an adequate explanation for its departure from established precedent”).

       FDA has long interpreted the FDCA’s NCI exclusivity provision to protect only the

innovative change for which the new clinical investigations are essential to approval. See supra

Part I.A.2; see also Ex. J at 21 (“[C]onditions of approval” means only the “innovative change that

is supported by the new clinical investigations” that entitled the first-approved drug to NCI

exclusivity); Veloxis, 109 F. Supp. 3d at 121 n.16. (“[C]onditions of approval” “can be no broader

than the innovations presented to the FDA in the new clinical investigations that led to the FDA’s

approval of the first-in-time 505(b) NDA.”).

       Here, there is no innovative change studied by BREEZE that could support the scope of

NCI exclusivity that FDA awarded. The FDA has made no findings based on BREEZE that would

be broadly applicable to all dry powder formulations of treprostinil. If Tyvaso DPI presents any

innovative change, it could only be found in its specific drug-delivery device or the unique

formulation and aerodynamic properties of the powder that allows the drug product to reach the

lungs without getting caught in the airways. If the innovative change is attributable to the device,

however, then that innovative change has not been supported by any clinical studies examining

that device. And if the innovative change is attributable to the specific formulation or aerodynamic

properties, then there must be a logical relationship between that change and the study for BREEZE

to support an award of NCI exclusivity. At most, BREEZE would support NCI exclusivity limited

to the unique formulation and aerodynamics properties of the powder for the specific patient

population studied. Thus, FDA’s decision to award NCI exclusivity to Tyvaso DPI on the basis

of BREEZE ran contrary to FDA’s own interpretation of the FDCA’s requirement that the scope

of such exclusivity must be limited to the “conditions of approval” for the prior drug.




                                                37
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 47 of 54




               5.      FDA Arbitrarily Refused to Limit the “Conditions of Approval” for
                       Tyvaso DPI to the Indications and Uses Studied In BREEZE.

       FDA acted arbitrarily and capriciously when it refused to limit the scope of NCI exclusivity

for Tyvaso DPI to the patient populations and uses studied in BREEZE. In the Exclusivity

Decision, after concluding that BREEZE’s purported “innovation” was “answer[ing] for the first

time whether the active moiety treprostinil administered as an inhalation powder is safe and

tolerable for chronic use,” Ex. A at 30, FDA stated without explanation that it was “not necessary

to address whether the exclusivity-protected condition of approval is limited by the approved

indications,” id. at 30 n.110 (emphasis added). FDA’s refusal to address this issue was arbitrary

and capricious as FDA has previously limited the scope of NCI exclusivity to the precise

indications covered by new clinical investigations when present (unlike here).

       In practice, FDA has limited the scope of NCI exclusivity for a drug by the approved

indications, which includes both the patient population and the dosage. For example, in Veloxis,

FDA determined that two new clinical studies made a drug eligible for NCI exclusivity where the

studies addressed “[extended release] dosage form and its once-daily dosing regimen [for de novo

patients], both of which were changes from the previously approved … drug.” 109 F. Supp. 3d at

111 (alterations in original); see also Ex. J at 1 (finding that NCI exclusivity for Astagraf XL “is

based on the new clinical investigations essential to the approval of the once-daily, ER dosage

form of tacrolimus for prophylaxis of organ rejection for use in de novo kidney transplant

patients”). In another example, FDA addressed the scope of NCI exclusivity that FDA would

recognize for a study conducted by the Teva Pharm for Plan B. See Ex. K. There, FDA expressly

rejected an overly broad exclusivity request and limited it to “nonprescription use in” specific

“populations (women ages 15 and 16 and women ages 14 and below)” because those were the

populations actually studied in the new clinical investigation on which Teva relied for approval.



                                                38
         Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 48 of 54




Id. at 6. Thus, again, the actual population in which the applicant conducted the study limited the

scope of the NCI exclusivity FDA granted.

         The Exclusivity Decision departs from FDA’s past practices without explanation. It fails

to address the sweeping scope of NCI exclusivity it has granted to Tyvaso DPI or reconcile that

scope with its own statement with respect to Astagraf XL that exclusivity does not attach to an

indication or to a patient population for which the applicant has not conducted the clinical

investigations essential to support the drug’s approval. Specifically, FDA acknowledges in its

Astagraf XL Exclusivity Decision that the applicant “did not conduct those clinical investigations

that would have been necessary to support” use in conversion patients and thus could not receive

NCI exclusivity for that use. Ex. J at 41 (emphasis added). Yet, FDA failed to engage in the same

analysis of the BREEZE Study and the NCI exclusivity it awarded to Tyvaso DPI, which would

have limited any NCI exclusivity to the patient population studied in BREEZE, i.e., PAH patients

(not PH-ILD patients) switching from a stable dose of Tyvaso inhalation solution. FDA’s

omissions here are acutely egregious in the context of treprostinil because the agency has

recognized in its previous approvals of this same active moiety that PAH and PH-ILD are different

diseases that warrant different treatment.39 The record before FDA is clear that BREEZE was not

conducted in the PH-ILD population, one of Yutrepia’s intended uses. By failing to consider

whether Tyvaso DPI’s NCI exclusivity should be limited only to the patients BREEZE studied,

FDA arbitrarily allowed Tyvaso DPI to receive exclusivity not supported by the alleged new

clinical investigation on which it relied in violation of FDA’s own precedents.

II.      LIQUIDIA WILL SUFFER IRREPARABLE HARM ABSENT AN INJUNCTION.

         Liquidia faces substantial irreparable harm as a result of FDA’s Exclusivity Decision. An



39
     See Orphan Drug Designation: Disease Considerations, supra note 5.

                                                39
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 49 of 54




injury warrants injunctive relief when it is “beyond remediation” and is “of such imminence that

there is a ‘clear and present’ need for equitable relief to prevent irreparable harm.” Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citation omitted).

Injunctive relief is necessary here to prevent the certain and irreparable harm Liquidia will suffer

if the Exclusivity Decision is not enjoined.

       First, absent preliminary injunctive relief, Liquidia will permanently lose the opportunity

to market Yutrepia for at least nine months. Kaseta Decl. ¶¶ 9–10. That loss is an irreparable

harm that warrants preliminary injunctive relief. See Torpharm, Inc. v. Shalala, No. Civ. A. 97-

1925, 1997 WL 33472411, at *4 (D.D.C. Sept. 15, 1997) (company showed irreparable harm

because it would “be permanently disadvantaged in the market for ranitidine hydrochloride if

precluded from entering the market until many months after its competitors”).

       Second, absent preliminary injunctive relief, Liquidia will suffer substantial economic

harm that is unrecoverable due to FDA’s sovereign immunity. See Endo Par Innovation Co. v.

Becerra, No. 24-999, 2024 WL 2988904, at *7 (D.D.C. 2024) (noting that the plaintiff’s

“economic harm is unrecoverable” because “[i]t cannot recover damages against the FDA for its

claims in this suit on account of the FDA’s sovereign immunity”); Smoking Everywhere, Inc. v.

FDA, 680 F. Supp. 2d 62, 76–77, 77 n.19 (D.D.C. 2010) (same). The Exclusivity Decision

prevents Liquidia from generating any revenue from sales of Yutrepia for at least an additional

nine months, which Liquidia would use to address operating losses. Kaseta Decl. ¶ 12. The

economic harm to Liquidia is irreparable because sovereign immunity shields FDA from monetary

liability for the injuries its Exclusivity Decision will cause Liquidia. Thus, the clear and immediate

irreparable harm Liquidia will face strongly weighs in favor of granting a preliminary injunction.

III.   THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST STRONGLY FAVOR LIQUIDIA.

       The balance of the equities and the public interest also weigh heavily in Liquidia’s favor.


                                                 40
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 50 of 54




In addressing these factors, the Court must “balance the competing claims of injury,” specifically,

“the effect on each party of granting or withholding the requested relief.” Winter, 555 U.S. at 24.

The Court must also consider whether an injunction would harm other interested parties. See

Monument Realty LLC v. Wash. Metro. Area Transit Auth., 540 F. Supp. 2d 66, 74 (D.D.C. 2008).

Conducting that balance here shows FDA and UTC would not suffer legally cognizable harm from

an injunction against FDA’s unlawful Exclusivity Decision, in contrast to the immediate and

substantial harm Liquidia and the public will suffer absent injunctive relief.

       The Public Interest. Liquidia’s high likelihood of success on the merits of its APA claims

“is a strong indicator that a preliminary injunction would serve the public interest because there is

generally no public interest in the perpetuation of unlawful agency action.” Shawnee Tribe, 984

F.3d at 102 (cleaned up). There is a “substantial public interest in having governmental agencies

abide by the federal laws that govern their existence and operations” and “generally no public

interest in the perpetuation of unlawful agency action.” League of Women Voters of U.S. v. Newby,

838 F.3d 1, 12 (D.C. Cir. 2016) (internal quotation marks and citation omitted); Bayer HealthCare,

942 F. Supp. 2d at 27 (“The public has an interest in federal agency compliance with its governing

statute.”); Torpharm, 1997 WL 33472411, at *5 (“The public interest … in the correct application

of the statute favors issuance of the injunction.”). Similarly, injunctive relief here would not harm

FDA. See R.I.L-R v. Johnson, 80 F. Supp. 3d 164, 191 (D.D.C. 2015) (an agency “cannot suffer

harm from an injunction that merely ends an unlawful practice or reads a statute as required”).

       Furthermore, preliminary injunctive relief in Liquidia’s favor would serve the public

interest by increasing competition amongst drug companies that offer inhaled treprostinil. The

public has an interest in competition. See Torpharm, 1997 WL 33472411, at *5. That is

particularly true here because granting injunctive relief to Liquidia would help give PH-ILD and




                                                 41
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 51 of 54




PAH patients access to a new and differentiated treatment option.

       No Cognizable Harm to UTC. An order enjoining the Exclusivity Decision and requiring

FDA to grant full approval to Yutrepia effective immediately also would not cause any cognizable

harm to non-party UTC and certainly would not cause sufficient harm to outweigh the harm to

Liquidia from denial of the injunction.

       UTC has no protectable interest in the NCI exclusivity that FDA extended in the

Exclusivity Decision because, on the merits, Liquidia is likely to show that Tyvaso DPI is

ineligible for NCI exclusivity under the FDCA and FDA regulations. See supra Part I.A. Nor will

UTC face any cognizable harm from the specter of competition from an order allowing Liquidia

to market Yutrepia earlier than May 2025. “The mere existence of competition is not irreparable

harm, in the absence of substantiation of severe economic impact.” Wash. Metro. Area Transit

Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 n.3 (D.C. Cir. 1977). It is implausible that

UTC will suffer “severe economic impact” from Liquidia’s launch of Yutrepia. As another federal

district court stated earlier this year when it denied UTC’s request to enjoin Liquidia from

launching Yutrepia, “[UTC] is a large company with more than $2 billion in annual revenue and

two decades on the market.” United Therapeutics, 2024 WL 2805082, at *13. Notably, UTC had

already expected that its “double-digit growth rate remains a solid forecast even with the

possibility of new FDA approvals of … Liquidia.”40 That undermines any claim of harm by UTC.

       Nor can UTC credibly assert that it would suffer economic harm from injunctive relief that

enjoins the unlawful Exclusivity Decision. UTC had already expected that its exclusivity for

Tyvaso for the PH-ILD indication would expire in March 2024, as UTC alleged in a complaint




40
   See UTC Q1 2023 Earnings Call Transcript (May 3, 2023),
https://www.roic.ai/quote/UTHR/transcripts/2023/1.

                                               42
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 52 of 54




filed in this very court. See Complaint, United Therapeutics Corp. v. FDA, No. 24-cv-484-JDB

(D.D.C. Feb. 20, 2024), ECF No. 1, ¶ 42 (“FDA approved UTC’s supplemental NDA for PH-ILD

in 2021. As a result, UTC was granted a three-year period of new-clinical-study exclusivity until

March 31, 2024. That means that FDA cannot approve any 505(b)(2) application to market a

treprostinil product for the PH-ILD indication until after that date.”).

       In short, UTC has held a monopoly on treprostinil drugs for nearly 20 years, and it surely

will continue to market Tyvaso and Tyvaso DPI even if the Court issues injunctive relief here.

UTC’s interests cannot outweigh the substantial irreparable harm to Liquidia.

IV.    LIQUIDIA REQUESTS INJUNCTIVE RELIEF THAT IMMEDIATELY REDRESSES THE
       IRREPARABLE HARM FROM FDA’S UNLAWFUL EXCLUSIVITY DECISION.

       Liquidia requests injunctive relief that immediately provides redress to Liquidia for the

unlawful Exclusivity Decision.

       First, at a minimum, Liquidia requests preliminary injunctive relief immediately to enjoin

the effectiveness of the Exclusivity Decision. See Merck & Co. v. FDA, 148 F. Supp. 2d 27, 29

(D.D.C. 2001) (noting that the district court had issued temporary restraining order “staying the

effectiveness” of an FDA decision on exclusivity). Such relief would clear the sole obstacle to

FDA’s immediate full approval of Yutrepia.

       Second, Liquidia requests an order that requires FDA to grant full approval effective

immediately for Yutrepia for both the PAH and PH-ILD indications. There is precedent for the

Court to grant such injunctive relief. For example, in Teva Pharmaceuticals USA, Inc. v. FDA,

the district court determined that the plaintiff was “entitled to immediate final effective approval”

for its drug application upon the court’s conclusion that the plaintiff had demonstrated that FDA

arbitrarily and capriciously interpreted a provision of the FDCA. No. CIV. A. 99-67, 1999 WL

1042743, at *7 (D.D.C. Aug. 19, 1999). In Torpharm, the district court similarly granted a



                                                 43
       Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 53 of 54




preliminary injunction compelling FDA to approve the plaintiff company’s drug application after

concluding that FDA had incorrectly applied the FDCA provisions at issue in that case and all

other preliminary injunction factors weighed in the plaintiff’s favor. 1997 WL 33472411, at *1,

*3-5. Similar relief is appropriate here. In light of FDA’s determination that Yutrepia already

satisfies all the requirements for final approval, and the significant delays Liquidia has experienced

to obtain regulatory approval for Yutrepia, an order that requires FDA to grant final approval is

necessary and appropriate.

       Third, in the alternative to full approval of Yutrepia for both indications, Liquidia requests

an order that requires FDA to grant full approval effective immediately for Yutrepia as to the PH-

ILD indication. As shown above, BREEZE did not study patients with this indication, and NCI

exclusivity cannot be awarded based on BREEZE for that population as a matter of law.

       Fourth, if the Court were not inclined to order FDA to grant full approval to Yutrepia

effectively immediately, Liquidia requests in the alternative that the Court remand to FDA so the

agency may have “a chance to remedy the explanatory deficiencies” that Liquidia has identified

in Part I.B. See Banner Health v. Price, 867 F.3d 1323, 1356–57 (D.C. Cir. 2017) (“The Supreme

Court has explained that ‘[i]f the record before the agency does not support the agency action, …

the proper course, except in rare circumstances, is to remand to the agency for additional

investigation or explanation.’” (citation omitted)); Merck, 148 F. Supp. 2d at 31 (noting that “[i]n

cases where a reviewing court is unable to make a determination because of the agency’s failure

to explain the grounds for its decision, the proper remedy is a remand for further proceedings”).

In the event the Court would prefer this alternative relief, Liquidia requests that the Court set a

very short and specific timeline for FDA to complete its revised analysis, specifically no later than

14 days from the date when the Court issues a decision granting Liquidia a preliminary injunction.




                                                 44
        Case 1:24-cv-02428-TJK Document 13-1 Filed 08/27/24 Page 54 of 54




                                          CONCLUSION

       For the foregoing reasons, Liquidia requests that the Court grant injunctive relief that

(1) immediately enjoins FDA from enforcing its Exclusivity Decision, and (2) immediately enjoins

FDA from refusing to grant final approval of Yutrepia pursuant to the Exclusivity Decision either

in full or, at the very least, for the PH ILD indication.



Dated: August 27, 2024                             By: /s/ Sonia W. Nath
                                                       Sonia W. Nath (DC Bar No. 977095)
                                                       David E. Mills (DC Bar No. 401979)
                                                       Robby Saldaña (DC Bar No. 1034981)
                                                       Matt K. Nguyen (DC Bar No. 1736777)
                                                       COOLEY LLP
                                                       1299 Pennsylvania Ave., NW, Suite 700
                                                       Washington, DC 20004-2400
                                                       Telephone: (202) 842-7800
                                                       Facsimile: (202) 842-7899
                                                       snath@cooley.com
                                                       dmills@cooley.com
                                                       rsaldana@cooley.com
                                                       mnguyen@cooley.com

                                                        Kathleen R. Hartnett (DC Bar No. 483250)
                                                        COOLEY LLP
                                                        3 Embarcadero Center, 20th Floor
                                                        San Francisco, CA 94111-4004
                                                        Telephone: (415) 693-2000
                                                        Facsimile: (415) 693-2222
                                                        khartnett@cooley.com

                                                        Counsel for Plaintiff Liquidia
                                                        Technologies, Inc.




                                                  45
